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..~

                     IN AND FOR THE DISTRICT COURT OF CADDO COUNTY
                                   STATE OF OKLAHOMA

      STACEY WRIGHT                                    )
                                                       )
             Plaintiff,                                )
                                                       )
      v.                                               )

      AMERICAN NATIONAL PROPERTY
                                                       )
                                                       )   Case No.  C S- ;;<015"- CjD
      AND CASUALTY COMPANY, a foreign                  )   The Honorable
      corporation;                                     )                            State of Oklahoma
                                                                                        Caddo CO.
      ZACHARY WILSON WELDING; and                      )
      ZACHARY ALLEN W1LSON, personally,                )                               FILED
                                                       )                             NOV 2 3 2015
                                                       )
             Defendants.                               )                     At           O'Clock        M.
                                                                             PATII BARGER. Court Clerk
                                                                             By'                        Depu~
                                                 PETITION

             The Plaintiff, Stacey Wright ("Mrs. Wright" or "Plaintiff'), for her Petition against the

      Defendants, American National Property and Casualty Company ("ANPAC" or "Defendant(s)"),

      Zachary Wilson Welding ("ZWW" or "Defendant(s)") and Zachary Allen Wilson ("Wilson" or

      "Defendant(s)") , alleges and states:

                                          JURISDICTION AND VENUE


              1.     Plaintiff resides in Weatherford, Custer County, Oklahoma, and at all relevant times

      has been a citizen of Oklahoma.

             2.      ANP AC is incorporated in the State of Missouri, and has its principal place of

      business in Springfield, Missouri. ANPAC issued the subject insurance Policy to Plaintiffin Custer

      County, Oklahoma.

             3.      Upon information and belief, ZWW is an Oklahoma sole proprietorship oV'I'ned and

      operated by Wilson with its principal place of business in Chickasha, Grady County, Oklahoma.

                                                                                                    EXHIBIT

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        4.        Upon information and belief, \Vilson is a resident of Chickasha, Grady County,

Oklahoma, and was employed by ZWW at all relevant times herein.

        5.        The underlying events giving rise to this lawsuit occurred in Hydro, Caddo County,

Oklahoma.

        6.        The District Court in and for Caddo County has jurisdiction over the parties pursuant

to 12 O.S. §§ 137, 141 and 187.

                                       FACTUAL BACKGROUND

        7.        Plaintiff hereby adopts and realleges each of the facts and allegations set forth in

paragraphs 1-6 above.

        8.        At all times material hereto, and for several years preceding the filing ofthe present

lawsuit, Plaintiff was insured under automobile insurance policies issued by ANPAC. The policy

of insurance at issue in the present lawsuit is ANPAC Policy No. 35-A-292-00M-9 (the "Policy").

Plaintiffs Policy term is from August 25, 2015 to February 25, 2016. Plaintiffs premiums are paid

and up to date.

        9.        Plaintiff s Policy with ANP AC includes, inter alia, comprehensive coverage,

collision coverage, customized equipment protection, rental expense coverage and UM/UIM

coverage with limits of $25,000 per person. (See Declarations Pages, EXHIBIT 1).

        10.       On September 25,2015, Plaintiff was stopped at a stop sign on State Highway 58

near State Highway 66 in Hydro, Caddo County, Oklahoma, when she was rear-ended by the

tortfeasor, Wilson, who was driving a 2012 Dodge Ram truck at a high rate of speed (the

" Accident").




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       11.     Wilson admitted that he rear-ended Plaintiff and caused the Accident because he was

distracted and looking at his phone prior to and at the time of the Accident. (See Official Oklahoma

Traffic Collision Report, EXHIBIT 2).

       12.     Plaintiff's vehicle, a brand new 2015 Chevrolet Suburban ("Suburban") which she

had just purchased, sustained significant property damage that included a broken axle and bent

frame. (See Photographs, EXHIBIT 3).

       13.     The Dodge Ram that the tortfeasor, Wilson, was driving at the time of the Accident

was owned by ZWW - a company owned by Wilson - and it was insured by American Mercury

Insurance Group ("Mercury").

       14.     Within ten minutes of the Accident, Plaintiffhad notified her insurance agent, Doug

Pond, of the Accident. Thus, Plaintiff had provided her own insurer, ANP AC, with constructive

notice of the Accident within minutes thereafter.

       15.     Shortly after the Accident, Plaintiff made a claim with the tortfeasor's insurer,

Mercury.

       16.     On September 28, 2015, Mercury's exammer, Katie Collins ("Collins"),

acknowledged receipt of Plaintiff's claim and admitted to Plaintiff that she had talked to the

tortfeasor, Wilson, and was ready to accept liability on his behalf. (See Email, EXHIBIT 4).

       17.     On or about October 1,2015, Mercury sent an appraiser, Brandon Stone ("Stone"),

to Cummins Auto Group ("Cummins") where Plaintiff's Suburban was stored to evaluate the

property damage. Stone initially provided a lowball estimate of$11, 117.86. (See Estimate, EXHIBIT

5).
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        18.     Thus, Plaintiff had her Suburban inspected at Mike's Body Shop in Weatherford,

Oklahoma. Mike's Body Shop determined that the Suburban sustained $18,977.11 in property

damage as a result of the Accident. (See Estimate, EXHIBIT 6).

        19.     Plaintiffprovided the estimate from Mike's Body Shop to Mercury, and advised that

Mercury would be liable for the diminished value of her Suburban as well. (See Email, EXHIBIT 7).

        20.     Accordingly, Stone returned to Cummins to perform a supplemental inspection on

or about October 19,2015. Stone's supplemental inspection turned up an additional $6,138.23 in

property damage to Plaintiffs Suburban that Stone failed to acknowledge during his initial

inspection. Stone's new estimate with respect to Plaintiffs Suburban totaled $17,256.09. (See

Estimate, EXHIBIT 8).

        21.     After Stone's supplemental estimate, Mercury, via Collins and Stone, admitted

numerous times that Plaintiff s Suburban was "repairable" and not totaled. Specifically, Stone told

Plaintiff"I did go out and reinspect and yes it is repairable." (See Email dated October 19,2015,

EXHIBIT 9) (emphasis added).

        22.     Likewise, Collins admitted to Plaintiff that "[i]t looks like your vehicle is

repairable," and she began demanding that Plaintiff authorize the repairs on the Suburban or

Mercury would no longer cover her rental vehicle. (See Email dated October 19,2015, EXHIBIT 10)

(emphasis added).

        23.     Thereafter, Collins sent Plaintiff additional emails demanding that the Suburban be

taken to Plaintiff s shop of choice so repairs could begin. If Plaintiff did not do as requested, Collins

would stop paying for Plaintiffs rental car. (See Multiple Emails, EXHIBIT 11).

        24.     In short, Mercury's position regarding Plaintiff's property damage was ah:vays

unequivocally clear - i. e., the Suburban was repairable.


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       25.     Thereafter, Plaintiff and Mr. Wright hired counsel to protect their interests from

Mercury's threats and demands.

       26.     On October 23, 2015, Plaintiff s counsel sent Mercury a letter of representation and

advised Mercury that it would also be responsible for approximately $19,500.00 in damages related

to the Suburban's diminished value as well as the property damage to their vehicle.

       27.     The same day, Mercury's new examiner, Susan Swanson ("Swanson"), emailed

correspondence to Plaintiffs counsel advising that Plaintiffs property damage and bodily injury

claims would likely exceed the tortfeasor's policy limits. (See Letter, EXHIBIT 12).

       28.     On October 27,2015, Plaintiffs counsel sent ANPAC a letter of representation and

demanded " ... payment under all relevant coverage agreements of [Plaintiff's] ANPAC policy for

the property damage to [Plaintiff's] Suburban and for the injuries sustained by Mrs. Wright." In

short, Plaintiff's counsel made a claim under all relevant coverage agreements, including her under-

insured motorist coverage. (See Letter, EXHIBIT 13).

       29.     Importantly, Plaintiff's counsel advised ANPAC in the same letter "... direct all

future correspondence to [his] attention." (See EXHIBIT 13).

       30.     On the evening of October 27, 2015, Plaintiffs counsel had a lengthy telephone

conference with James Sanders ("Sanders"), ANPAC's claims examiner handling Plaintiffs first-

party claim. Sanders had received the letter of representation from Plaintiffs counsel and thus knew

that all future correspondence was to be sent to Plaintiffs counsel.

       31.     In the telephone conference, Sanders agreed to send out ANPAC's appraiser, Jerry

Samuels ("Samuels"), to inspect the Suburban at Cummins on Friday, October 30,2015.

       32.     However, the following day (October 28, 2015), Sanders-knowingthatPlaintiffwas

represented and that all communication should be sent to Plaintiffs counsel - sent certified mail


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directly to Plaintiff (as opposed to her counsel) advising that ANPAC was likely going to deny

Plaintiff's first-party claim based on a delay in notice. In other words, Sanders, on behalf of

ANP AC, sent a menacing letter directly to Plaintiff threatening to deny coverage for the claim

purportedly based on a delay in notice. (See Letter, EXHIBIT 14). Sanders' actions were intentional

and intended to strike fear in Plaintiff.

        33.     As expected, Sanders' threatening denial letter caused Plaintiff significant anxiety,

stress and emotional distress considering Plaintiff had notified her agent, and thus, ANP AC within

ten (10) minutes ofthe Accident. Simply stated, the justification for ANPAC's threatening denial

letter (i.e., Plaintiff's purported delay in notice) was clearly erroneous and false.

        34.     On Friday, November 6, 2015, Plaintiff's counselleamed of Sanders' threatening

denial letter to Plaintiff. Plaintiff's counsel immediately sent Sanders a response questioning why

Sanders sent a threatening letter to his own insured (Plaintiff) when he knew Plaintiff was

represented. In addition, Plaintiff's counsel advised Sanders of Oklahoma's bad faith laws, his

duties under same, and that his threatening denial letter to Plaintiffwas essentially an act of bad faith

by ANPAC. Finally, Plaintiff's counsel requested Sanders to retract ANPAC's threatening denial

letter regarding Plaintiff's first-party claims. (See Email, EXHIBIT 15).

        35.     Because ANP AC' s threatening denial letter was clearly unreasonable and in bad faith,

Sanders sent Plaintiff's counsel correspondence on November 9, 2015 retracting his/ANPAC's

threatening denial letter to Plaintiff. (See Email, EXHIBIT 16).

        36.     During the chaos, Plaintiff provided ANPAC with all of the requested medical

authorizations, a list of her providers and the initial medical bills she had received as a result of the

accident so ANP AC could further evaluate Plaintiff's claim. (See Email, EXHIBIT 17).




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        37.    On October 30, 2015, Plaintiffs counsel met Samuels, ANPAC's staff appraiser, at

Cununins so he could inspect Plaintiff s Suburban on behalf of ANP AC.

        38.    On November 9,2015, Samuels provided Plaintiffs counsel with its estimate in the

amolmt of $20,397.20. Samuels was unsure whether the Suburban sustained any additional hidden

damage and stated that the Suburban needed to be torn down to supplement his estimate. (See

Estimate, EXHIBIT 18).

        39.    Plaintiffs counsel forwarded Samuels/ANPAC's estimate to Mercury on Tuesday,

November 10, 2015, and made a reasonable settlement demand in the amount of $55,000.00,

considering Mercury's position since the Accident was that Plaintiff's vehicle was repairable. (See

Email, EXHIBIT 19).

        40.    Plaintiff's counsel also advised ANPAC and Mercury that Plaintiff did not want her

Suburban tom down and that she only wanted it repaired. Plaintiff did not want her Suburban tom

down because if there was no hidden damage, the re-sale value of the Suburban would be much less

than the $47,500.00 Plaintiff had already been offered by Cummins.

       41.     At 8:08 a.m. on November 11, 2015, Mercury responded to Plaintiffs settlement

demand advising that Mercury was unable to settle Plaintiff s claims because Mercury was unsure

whether Plaintiff s Suburban was repairable. Mercury's new position - i. e., that the Suburban may

not be repairable and instead may be totaled - was based on Mercurv's conversations and

communication with ANPAC's adjuster - i.e., Plaintiff's own insurer. (See Email, EXHIBIT 20).

       42.     It was clear to Plaintiff and Plaintiffs counsel that Mercury and Plaintiffs own

insurer, ANP AC, Vlere in cahoots and were working together to reduce the value of Plaintiff s claim.

The fact is, prior to speaking with ANPAC, Mercury's position had always been that Plaintiffs




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vehicle was repairable. Mercury had even threatened Plaintiff to have the Suburban repaired or

Mercury would not pay for Plaintiff s comparable rental vehicle.

        43.     Accordingly, at 12:04 p.m. on November 11,2015, Plaintiff's counsel sent Samuels

and Sanders 0. e., ANP AC) correspondence advising Samuels not to discuss Plaintiff s claim with

Mercury any longer. (See Email, EXHIBIT 21).

        44.     Three (3) minutes later at 12:07 p.m., and in response to Plaintiff's counsel's

correspondence, Sanders, intentionally and with malice, advised Plaintiff and her counsel to " . .. not

communicate with [ANPAC's] staff appraiser [i.e., Samuels] any longer." (See Email, EXHIBIT

22). In short, Sanders and ANPAC have demanded that Plaintiff, ANPAC's own insured, not

discuss ANPAC's estimate with the very person that performed the inspection and created the

estimate, Samuels.

        45.     The actions by Sanders, and thus ANPAC, are clearly intentional and with malice.

Sanders, and thus ANP AC, have personally attacked Plaintiff, their own insured, in part because:

(1) Plaintiff s counsel caught Sanders and ANPAC red handed regarding the erroneous threatening

denial letter; and (2) Plaintiff s cOlllsel caught ANP AC red handed colluding and conspiring with

Mercury to reduce the value of Plaintiff's claim so both Mercury and ANP AC could limit their

respective financial losses.

        46.     Plaintiff is entitled to be made whole and put back in the same position she was in

prior to the Accident. It is clear that ANP AC and Mercury are conspiring together to reduce the

value of Plaintiff s claim so that she is not made whole and so that the insurers can reduce their

financial loss as a result of Plaintiffs claim.

        47.     Accordingly, ANPAC has forced Plaintiff to file suit just so Plaintiff can speak with

ANPAC through depositions regarding her first-paliy claim.


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                FIRST CAUSE OF ACTION - NEGLIGENCE - ZACHARY ALLEN WILSON

          The Plaintiff, Stacey Wright, for her First Cause of Action, adopts and incorporates the

allegations made in numerical paragraphs 1 through 47, above, and in addition, alleges and states:

          48.    Wilson had a duty under Oklahoma statutes and common law to be an attentive

driver.

          49.    Wilson violated 47 O.S. § 11-901, et seq., amongst other statutes, for driving

recklessly and causing the Accident. Such action constitutes negligence per se.

          50.    Moreover, Wilson violated his conunon law duty to be an attentive driver.

          51.    Wilson breached this duty by taking his eyes off of the roadway in an effort to pick

up his cellular telephone that had fallen to the floorboard of his Dodge Ram truck.

          52.    Wilson's breach in this regard was the proximate cause of the subsequent Accident.

          53.    Wilson's breach was also the proximate cause of Plaintiff s property damage and

bodily injuries, all of which exceed $75,000.

          54.    Wilson's actions at the time of the Accident constituted a willful, wanton, and

reckless disregard for the rights and safety of Plaintiff. As such, an award of punitive damages is

in order.

          55.    Thus, Plaintiff, Stacey Wright respectfully requests this Court enter a judgment in her

favor and against Defendant, Zachary Allen Wilson, for damages ih excess of $75,000, including

pW1itive damages, and along with interest, costs, attorney fees and any and all other legal or equitable

reliefthis Court deems just and proper.

     SECOND CAUSE OF ACTION - RESPONDEAT SUPERIOR - ZACHARY 'VILSON WELDING

          The Plaintiff, Stacey Wright, for her Second Cause of Action, adopts and incorporates the

allegations made in numerical paragraphs 1 through 55, above, and in addition, alleges and states:


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        56.     Upon inforn1ation and belief, the vehicle (2012 Dodge Ral11) driven by Wilson at the

time of the Accident was owned by and operated on behalf of Zachary Wilson Welding ("ZWW").

        57.     As a result, ZWW is responsible for Wilson's actions, and thus negligent, while

Wilson was operating the vehicle in the course and scope of his employment with ZWW.

        58.     Because Wilson was operating the vehicle in the course and scope of his employment

with ZWW at the time of the Accident, ZWW is responsible for Plaintiffs dal11ages, including any

punitive damages, as a result of the Accident.

        59.     Thus, Plaintiff, Stacey Wright respectfully requests this Court enter a judgment in her

favor and against Defendant, Zachary Wilson Welding, for damages in excess of$75,000, including

punitive damages, and along with interest, costs, attorney fees and any and all other legal or equitable

relief this Court deems just and proper.

                     THIRD CAUSE OF ACTION - BREACH OF CONTRACT
                  AMERICAN NATIONAL PROPERTY AND CASUALTY COMPANY

        The Plaintiff, Stacey Wright, for her Third Cause of Action, adopts and incorporates the

allegations made in numerical paragraphs 1 through 59, above,and in addition, alleges and states:

        60.     At the time of the Accident, Plaintiff had an insurance policy with ANPAC that

provided, inter alia, comprehensive coverage, collision coverage, customized equipment protection,

rental expense coverage and UMlUIM coverage with limits of $25,000 per person.

        61.     Plaintiff properly and timely notified ANP AC of the Accident and her claims as a

result of the Accident.

        62.     Plaintiff has complied with the terms and conditions of the Policy in all material

ways.




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        63.    ANPAC, however, has breached its contractual obligations under the terms and

conditions of the insurance Policy by failing to pay Plaintiff all of the benefits to which she is

entitled under the tern1S and conditions of the Policy.

        64.    As a result of ANP AC' s breach of contract and other wrongful conduct, Plaintiff has

sustained financial losses, mental and emotional distress and has been damaged in an amount in

excess of $75,000, exclusive of attorneys' fees, costs and interest.

        65.    Thus, Plaintiff, Stacey Wright respectfully requests this Court enter a judgment in her

favor and against Defendant, American National Property and Casualty Company, for damages in

excess of $75,000, including punitive damages, and along with interest, costs, attorney fees and any

and all other legal or equitable relief this Court deems just and proper.

                         FOURTH CAUSE OF ACTION - BAD FAITH
                  AMERICAN NATIONAL PROPERTY AND CASUALTY COMPANY

       The Plaintiff, Stacey Wright, for her Fourth Cause of Action, adopts and incorporates the

allegations made in numerical paragraphs 1 through 65, above, and in addition, alleges and states:

       66.     Plaintiff has made demand upon ANP AC for payment under all relevant Policy

coverages, including payment ofUMIUIM policy benefits. Plaintiff has met all conditions precedent

for the payment of those policy benefits, including the payment for property damage to her vehicle.

       67.     Instead of honoring the terms and conditions of its Policy with Plaintiff, ANP AC: (1)

sent Plaintiff a menacing letter threatening to deny coverage based on erroneous reasons; (2)

conspired and colluded with Mercury to reduce the value of Plaintiff s claim so ANP AC could limit

its own financial losses as a result of Plaintiff's claim; and (3) personally attacked Plaintiff by

demanding that Plaintiff no longer discuss her claim with ANP AC.

       68.     ANPAC owed a duty to Plaintiff to deal fairly and in good faith.




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        69.    ANP AC breached its duty to deal fairly and in good faith with Plaintiffby engaging

in the intentional and reckless conduct described above.

        70.    ANPAC's obligations arise from both the express written terms of the Policy,

Oklahoma common law and the Oklahoma Insmance Code.

        71.    The conduct of ANP AC, as described above, constitutes bad faith and is a material

and tortious breach of the terms and conditions of the Policy between the parties.

        72.    As a direct result of ANPAC's bad faith conduct, Plaintiff's claim has been

unnecessarily delayed and inadequately investigated. Further, ANPAC's bad faith conduct in

conspiring and colluding with Mercury to reduce the value of Plaintiff's claims have resulted in

additional profits and a financial windfall for ANP AC.

        73.    As a direct and proximate result of ANP AC' s breach of its duty of good faith and fair

dealing owed to Plaintiff, Plaintiff sustained damages, including deprivation of policy benefits,

financial loss, mental anguish, embarrassment, anger, anxiety, worry and stress.

        74.    Since Plaintiff made her claim with ANP AC, Wilson and ANP AC have demonstrated

malicious intent by personally attacking Plaintiff and by colluding and conspiring with the

tortfeasor's carrier, Mercury, to reduce the value of Plaintiff's claims. The conduct of ANPAC is so

reckless, reprehensible, malicious, and outrageous as to warrant the imposition of punitive damages

against ANPAC, to punish ANP AC and to deter like conduct by others.

       75.     Thus, Plaintiff, Stacey Wright respectfully requests this Court enter a judgment in her

favor and against Defendant, American National Property and Casualty Company, for damages in

excess of$75,000, including punitive damages, and along with interest, costs, attorney fees and any

and all other legal or equitable relief this Court deems just and proper.




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       WHEREFORE. the Plaintiff, Stacey Wright, for her causes of action, prays for judgment

against the Defendants for an amount in excess of $75,000, plus her attorney's fees, costs,

prejudgment interest and punitive damages.

                                                  Respectfully submitted,




                                                  Gerard F. Pi    ato, OBA No. 11473
                                                  PIGNATO, COOP    ,KOLKER& ROBERSON, P.C.
                                                  Robinson Renaissance Building
                                                  119 N0l1h Robinson Avenue, 11 th Floor
                                                  Oklahoma City, Oklahoma 73102
                                                  Telephone:   405-606-3333
                                                  Facsimile:   405-606-3334
                                                  Email:       jerry@,pclaw.org

                                                  AND

                                                  Clayton B. Bruner, OBA No. 22079
                                                  CLAYTON B. BRUNER, P.L.L.C.
                                                  2811 E. Main
                                                  Weatherford, Oklahoma 73096
                                                  Telephone:     (580) 774-5363
                                                  Facsimile:     (580) 772-7440
                                                  Email: claybrunerlaw(cj).gmail.com
                                                  ATTORNEYS FOR PLAINTIFF



JURY TRIAL DEMANDED
ATTORNEY LIEN CLAIMED




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                                               E HIBIT 1
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                   ;;-"I"l;.r~·                    AMERICAN NATIONAL PROPERTY AN                                    CASUALTY CO
 AN                'II1II_'-...4                POLICY NUMBER
         1949 E. SUnsHINE                     35-A-292-00M-9                             THIS FAMILY A              OMOBlLE AMENDED DECLARATION
  SPRINGFIEl.D, MlSSOURI65899-0001               POLlCYTERM
            (417) 687-'l220                08-25-15 TO 02-25-16*                         REPLACES ALL PRIO DECLARATIONS, IF ANY, AND WrrH POLICY PROVISIONS AND
          v.ww.ANPAC,,,,",                                                               ANY ENDORSEMENT ISSUED TO FORM A PART THEREOF COMPLETES THIS POLICY.
                                           AND SUBSEQUENT RENEWALS.                           METHOD OF PAYMENT: EASY PAY PLAN - 0359349
 NAMED INSURED AND ADDRESS

  WRIGHT, TODD B & STACEY E                                                         CHANGE EFFECTIVE OB-07-15
  24352 E 1030 RD                                                                   ORIGIN: AGENT
  WEATHERFORD OK 73096-7504                                                         CHANGES: VEH, CO , LIEN


  RATING ADDRESS:                                                          AGENT: D349B-P l-SPE                                                       FOR COSTOMER SERVICE:
  24352 E 1030 RD                                                          DOUG POND                                                                  580-774-2321
  WEATHERFORD OK                     73096-7504                            114 N CUSTER ST
                                                                           WEATHERFORD OK 73096- 92B
 DESCRIPTION OF INSURED PROPERTY
     RATED
  VEH DR DESCRIPTION                                   ID NUMBER                        TYPE
   1 2 2015 CHE SUBURBAN 1500                          1GNSKJKC6FR704991                AUTO
   2 0 1995 GMC K2500 SIERRA                           1GTGK24K5SZ546128                PICKUP
   3 0 2011 CHE TAHOE 4D LT E                          1GNSKBE03BR292B40                AUTO
   4 1 2007 JEE WRANGLER 4D 4                          1J4GA69197L170452                AUTO
 RATING INFORMATION, COVERAGES, PREMIUMS, AND LIMITS OF LIABILITY
, INSURANCE IS PROVIDED ONLY WI1H RESPECT TO THOSE OF THE FOLLOW.NG COVERAGES WHICH ME INDICATED BY A SPECIFIC LU   OF LIABILITY ANDiOR PREMIUM APPLICABLE THERETO,

VEHICLE                          15 CHE SUBURBAN 1                                         95 GMC K2500                       11 CHE TAHOE 4D L                  07 JEE WRANGLER 4
BODILY INJURY LIABILITY                    $147.00                                                  $13                                 $140.00                            $152.00
 LIMIT PER PERSON/OCCURRENCE      250,000/500,000                                           250,000/500                        250,000/500,000                    250,000/500,000
PROPERTY DAMAGE LIABILITY                   $89.00                                                   $6 .00                              $81.00                             $90.00
 LIMIT PER OCCURRENCE                     100,000                                                   100 000                            100,000                            100,000
UNINSURED MOTORIST-POLICY PREM              $90.00                                                 INCL ED                            INCLUDED                           INCLUDED
 POL LIMIT PER PERSON/ACCIDENT      25,000/50,000
COMPREHENSIVE                             $204.00                                                   NO CO           GE                        $152.00                     $159.00
 DEDUCTIBLE                                  1,000                                                                                              1,000                       1,000
 ADDED COVERAGE ENDORSEMENT                     NO                                                                  NO                             NO                          NO
 LIMIT OF CUSTOMIZED EQUIPMENT               2,000                                                                  NO                          2,000                       2,000
COLLISION                                 $155.00                                                                   GE                        $112.00                      $55.00
 DEDUCTIBLE                                  1,000,                                                                                             1,000                       1,000
 ADDED COVERAGE ENDORSEMENT                     NO                                                                                                 NO                          NO
 LIMIT OF CUSTOMIZED EQUIPMENT               2,000                                                                                              2,000                       2,000
ROADSIDE ASST/WINDSHIELD REPAIR              $6.00                                                                                              $6.00                       $6.00
REIMB'ORSEMENT OF RENTAL EXPENSE         INCLUDED                                                                                           INCLUDED                    INCLUDED
 LIMIT PER DAY/AGGREGATE                    25/750                                                                                             25/750                      25/750

  TOTAL
                                                       ----------------- -------------
                                                                         $691.00
                                                                                                                           -----------------
                                                                                                                                     $491.00
                                                                                                                                             -----------------
                                                                                                                                                       $462.00
                                                                                                           $20 .00




IMPORTANT NOTICE: THIS POLICY REDUCES THE APPLICABLE LIMITS FO BODILY INJURY LIABILITY, PROPERTY
DAMAGE LIABILITY, UNINSURED MOTORIST COVERAGES SHOWN ON THIS DE LARATIONS PAGE TO THE LEGALLY REQUIRED
MINIMUM FINANCIAL RESPONSIBILITY LIMITS IN THE STATE WHEN AN    URED VEHICLE IS OPERATED BY ANYONE OTHER
THAN YOU OR A RELATIVE.

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                                                                                                                                          DOUG POND
~:~~~~&MS::;~ $1,845.00                            $25.00                            $0.00                                                 AU 1HORIZEb REpRESEN I A liVE
 DATE               08/07/15
 PRINTED
                  29D-07-03
 SM-484 (1-06)
                                     THIS IS NOT A BILL
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                  35-A-292-00M-9                  WRIGHT, TODD B & STACEY E                              08-25-15


      DECLARATIONS, SECTION II PAGE                 1                POLICY TERM 08-25-15 TO 02-25-16*
                                                     ·The policy term shown begins an ends at 12:01 a.m. Standard Time
     VEH.DR.#           RATING INFORMATION                                                                                          I
     1       2     DRIVER IS 33 YEARS OLD,MILEAGE IS LESS THAN         7,500,P~      ORE USE
     2       a     PICKUP
     3       a     AUTOMOBILE
     4       1     DRIVER IS 36 YEARS OLD,MILEAGE IS LESS THAN         7,500,P~      ORE USE




IlvEH.DR.#             OPERATOR INFORMATION                                                  AD&D   INC-LOSS     ACCDT!CONV!INEXP   I
     4       1     PRINCIPAL M MAR WRIGHT TODD                                                N              N      a    0   0
     1       2     PRINCIPAL F MAR WRIGHT STACEY E                                            N              N      0    0   a


II VEH.                 POLICY DISCOUNTS
         1       COMP CLM FREE; THREE LINE; MULTI-CAR;
         2       THREE LINE;
         3       CaMP CLM FREE; THREE LINE;
         4       CaMP eLM FREE; THREE LINE; MULTI-CAR;




 I VEH.                         THIS POLICY IS SUBJECT TO THE FOLLOWING FORM~ AND ENDORSEMENTS                                      I
     1                  #~Jl..     22 03-05      :;;25 GAl? - AUTO
     1,2,3,4                   SAl668 05-13            OKLAHOMA AUTO AMENDATORY
     1,3,4                     SA2476 11-12            CUSTOMIZED EQUIPMENT
     1,2,3,4                   SA4050K 10-00           OKLAHOMA AUTOMOBILE POLICY




II   LOSS PAYEE(S)/ADDITIONAL INTEREST(S)                                                                                           I
                    :   ..:S                             :   l,I                        v.          :   J.
     ALLY                                        CHASE AUTO FINANCE                     US BANK NA
     PO BOX 674                                  4070 WILLOW LAKE BLVD                  PO BOX 3427
     MINNEAPOLIS MN 55440-0674                   MEMPHIS TN 38118-7045                  OSHKOSH WI 54903-3427
     LOSS PAYEE                                  LOSS PAYEE                             LOSS PAYEE




I IMPORTANT POLICY INFORMATION
     Case 5:16-cv-00149-D Document 1-1 Filed 02/17/16 Page 17 of 115




                      IMPORTANT INFORMATION ON HOW    REPORT A CLAIM
                             BUCKLE UP AND DRIVE DEF NSIVELY

One in five drivers will have an accident this year. We hope it i not you. However, if it happens, remember
to get the following information from the other driver:

   1.   Vehicle Owner's Name, Address, and Telephone Numbe
   2.   Make and Model of Vehicle
   3.   Car License Plate Number
   4.   Driver's Name (if other than owner), Address, and Telep one Numbers
   5.   Driver's License Number
   6.   Insurance Company Name and Policy Number
   7.   Owner's and Driver's Place of Employment
   8.   Promptly File State Safety Responsibility Forms

REMEMBER TO REPORT YOUR CLAIM TO ANPAC® IMMEDI TELY (TOLL FREE) 1-800-333-2860
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                                               E HIBIT 2
                                            Case 5:16-cv-00149-D Document 1-1 Filed 02/17/16 Page 19 of 115


                                                                                                DEPARTMENT OF PUBLIC SAFETY
                                                                                                     I                                                                                         Submit Roport if
                          Please Read                                  OKLAHOMA               ManOR VEHICLE                       COLLlSION REPORT
                                                                                                                                                                                    Settlement Has Not Been Made
      Instructions on Reverse Side
                                                                PO 80x 11415
                                                                mJohoCT13 City OK i3136-0·i15
                                                                                                  I      Driver Compliance Di'/Islon                3600 N. M L King Ave
                                                                                                                                                 Oklahomll City. OK 73111                                        ·f

    Collision Dtlteq                 -J r;,-I r;                Time
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    Collision Location

    (Street Nama           Dr Highway       Number, NOl1rasllntersvction)

                                              Drh:cr Name
                                                                                         .        I                                 Ovmer Name
                                                                                                     I                              C Same As Driver
     VEHICLE NO.1
         (Your Vehicle)                       Dale
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      To!<ll Injury Amount::                  YOU WILL BE CONSIDERED UNINSURED AND S BJECT TO SUSPENSION OF YOUR DRIVER LICENSE IF THE FOLLOWING SECnON IS INCOMPLETE:

                                              Insurance                                                                             Insurance                                        Phone
                                              Company                                                                               Agent Name

                                              Policy                                                                                Address
                                              Number:
                                              Policy Pelicd            I From
                                                                                                Ie                                  Clly                                             Slate                   Zip


                                                              IMPORTANT: ATTACH ITEMIZED D PCTOR'/HOSPIT AUPHARMACY BILLS (ATTACH ADDITiONAL FORMS IF NECESSARy)


                      Naf:"l.e                                                        Address                                                               Age      Sex      Dri'ler      Passer.g€f   Pedestrian    Injured Killed




                      I njerias and/or Death


                                              Driver Name                                                                           (A'mer Name
    VEHICLE NO.2                                                                                                                     := Sarr08 As. Driver
                                                                       I~L
                                              Dale                                                                                  Dale
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     before action can                ce      ~.~af.c                   Year                    TIF"                                TilgNo.                                                  Slate         Year
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                                              INSUR';~IC=                                                                                                                                                     D
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      t-"i:fore action can be
                                              INSURANCE INFORr.!ATION OF OTHER DRIVER:                                                         INSURANCE DENIAL A IT ACHED?
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                         Case 5:16-cv-00149-D Document 1-1 Filed 02/17/16 Page 20 of 115



                                                                    DEPARTMENT OF PUBLIC SAFEiY

                                  OKLAHOMA MOTOR VEHICLE COLLISION REPORT
P.O. Box 11415
Oklahoma City OK 73136·0415
                                          Ct{'5e it             'd015';"~~":'j'"'"                                                                                    "
                                                                                                                                                                         3600 N. M L KIng Ave
                                                                                                                                                                      Oklahoma City OK 73111




                                                 INSURANCE,INFORMATION EXCHANGE,                                                                   ......,.. .-
 Police Officer
                1)/lo'f/'nS(){\ -SuYN15             DATEq-'J Cj /f1                Use this form to exchange your information wittrthe other party at
 Driver Nama              ,,\   I                                                                      the scene of the collision.
            "2-a call"              (j               ilsOVl                                                        '   .'


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 City SIale Zip                                                                   Address


 Vehlcl. OWner:                                                                   City Slale ZIp
 Q same I1S driver


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 Address                                            Phono                         PoHeyNo.

                                                                                                                            '5,)-000                              m-O/5~:r
 City Slate Zip                                                                   Polley Effective Dale     "                              PoSey Explrnllon Data


 Driver Ueense No.                                  Date of BIrth                 Vehlcle Make
                                                                                                            I   Model
                                                                                                                                           Vear                   I
                                                                                                                                                                  Tag NoJState




 -The official Oklahoma Traffic Collision Report, the police investigative report. can be obtained by calling Records Management at 405.425,2262*·



                                                                    INSTRUCTIONS



 WHILE AT THE SCENE OF THE COlliSION


 1.     Print your name and insurance information legibly in the form above.
 2.     Give your information to the other driver and then you receive their information.
 3.     Contact their insurance agent and your insurance agent to report the collision and to fife the proper claim forms.


                  If the insurance information provided above Is denied or non-existent or you did not have the
                  opportunity to obtain the above information; you will need to complete therev'erse side ofthisform and
                  submit wl,thin one year from the date of thELcollision.


 4.     Using this form which contains the other party's information (if investigated by law enforcement personnel), complete all
        blanks; incomplete reports will be returned. Date of birth must be included for adverse driver and/or owner; your
        insurance Information must also be included.
 5.     Report must be dated and signed.

 6.     Attach the following appropriate documents as evidence of personal injury or property damage.

         (a) PERSONAL INJURY - Copies of itemized doctor, hospital, and/or pharmacy bills incurred as a result of the collision.
         (b) VEHICLE DAMAGE - An itemized estimate of repair or total loss statement for damages caused by the COllision, dated and
                   signed by an authorized representative of a garage or body shop. Do not send any other supporting evidence such as
                   pictures, caples of checks, or other type of documents or diskettes.
         (c)       PROPERTY DAMAGE, OTHER THAN MOTOR VEHICLE - AA itemized estimate or statement of repair due to the collision
                   separately listing the cost of materials and the cost of labor dated and signed by a qualified professional or your receipts.
         (d) Insurance denial from other party's company if a claim was filed.
 7.      Upon completion, mail the report to the Department of Public Safety at the above address.
                                                      Case 5:16-cv-00149-D Document 1-1 Filed 02/17/16 Page 21 of 115

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                      OFFJC1AL OKLAHOflflA TRAFFIC (tOlUSION REPORT
                                                                                    00= _ _ _              +                                                                     Incident R~port
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                Case 5:16-cv-00149-D Document 1-1 Filed 02/17/16 Page 22 of 115


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                                                                   09. Truc!:·Tmctor           indui:!ing driver
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                          Case 5:16-cv-00149-D Document 1-1 Filed 02/17/16 Page 23 of 115



                                                                  OFFICIAL OKLAHOMA TRAFFIC COLliSION REPORT                                                 Pg 3 of 4
                                                                                                                                                                     Yes      0
                                                                                                                                                                     No       lEI
                                                                                                       Type ofWorlc Zone                      l..oca!lon of the Work ZOne
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                                                                                              2 t.aoo ShffilCrossove:r
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                                                                                                                                          Zone Wamlng Sign
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                                                                                                              Workers Present Yes   0   No    0   Unlalown   0




01 Clear
02 Fog/S1TlogISmoka
03 Cloudy
04 Ra.!n
05 Snow
06 SIeetIHaiI (Freezing
   RafnJDrizzIe)
f17Sevare~
08BlaningSrtCHI
09 Blowing Sand. Soil,
   Dirt
10 0Iher
99 Unknown




01 On Roadway
02 SOOu!der
03 Median
04 Roadside                                   UnH1      UnH2     Road       lJo1;l1   Unil2
05 Gore
                                             §]EJ               Surlilce
                                                                 Type
                                                                            fJ[D
                                                                                                                                                                 ;
06 SeparalDr
r:a Parking L.aoo'Zooe
OSOll'~• .
                           o Not Applica!lIeJNon               1 Concreta                                                                                                      •
   I..=!fion~
                           1 EJedronie Cornrnunil:alio         2 Asphalt
                             Devices                           3 Gmval                                                                                                             )
e9 0tI!si0e- RlgI;k:t
                           2 0l00r Eledronic Dovica            4 Dirt
   W2j
10 C>ele:r                 3 Ot!ler /rlsit:fe Vehicle
                           4 0l00r Otrtside Velllcle
                                                               S BIicIt
                                                               6 Other
                                                                                                                                                                               •
99 lJn!:nown                                                                                                                                                 7
                               unmown                          9 Unknown                                                                                                  5

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                                   Case 5:16-cv-00149-D Document 1-1 Filed 02/17/16 Page 24 of 115



CI!:s:e~   2015035'
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                                                                                                                    ... -i •      ....




                                                                                  FAONG SOU11-f) AT A STOP SIGN AT SH58 AND SH66 (lNTERSE01ON). UNIT 2
  AS TRAVEUNG SOUTH ON SH5S. THE DRIVER OF U IT 2 STATED HE DROPPED HIS PHONE INSIDE HIS VEHIClE. THE DRIVER OF UNIT 2
                                                                         5Wro:KVE'D INTO THE    NORTHBOUND LANE. UNIT 2 THEN SW'Ef&ED TO THE
                                                                              ECONTACfWlTH UNIT ,'S REAR DRIVER'S SIDE. CAUSING ACOWS ION. THE Act
  AS 91. FEET NORTH OF THE NORTH EDGE OF US. R UTE 66,1 SFEET EAST OF THE WEST EDGE OF HWY 58.




.1lris n=port is based on the officers investigation of is collision. This report may contain the opinion of the officer.
' _ n mB 1111 mll1l1                                                                                                                                         'OPS: 0192-04 REV 0107
Case 5:16-cv-00149-D Document 1-1 Filed 02/17/16 Page 25 of 115




                                               E            IBIT 3
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                            . ~';1~,~M
Case 5:16-cv-00149-D Document 1-1 Filed 02/17/16 Page 29 of 115




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                                 (i;ii!'ii!
Case 5:16-cv-00149-D Document 1-1 Filed 02/17/16 Page 30 of 115
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                                               E HIBIT
                          Case 5:16-cv-00149-D Document 1-1 Filed 02/17/16 Page 32 of 115
             From: Katie Collins <1<Coll;ns@mercurylnsuranc8.com>
             Date: September 28,2015 at 2:19:38 PM COT
             To: Stacey Wright <sassiesisters@hotmail.com>
             Subject: RE: OKBA-000009000


              Please disregard the email I sent you earlier. I spoke with mr insured and I am ready to make a
              liability decision, all I need is your statement. Please call m~ when you get a chance (800) - 503-
              3724 ext. 44533.

             Thanks again,


              Katie Collins
              Claims Specialists


             8240 N. Mopac #110
             Austin, TX 78759
             800-503-3724 EXT. 44533 877-397-0709 FAX
             kcollins@mercUlyinsurance.com




             --Original Message---
             From: Stacey Wright [mailto:sassiesisters@hotmail.com]
             Sent: Saturday, September 26, 2015 12:26 PM
             To: Katie Collins
             Subject: OKBA-0000090

             This is Stacey Wright. I was in the car wreck last night. I am reading to get a vehicle from our
             local dealership- the only dealership in our town - Cummins, Weatherford, OK

              I don't know the process I have never been in a wreck. How go we complete the paperwork for a
              car rental?
              I have 3 active kids and I have already had 2 soccer games this morning so I definitely need a
              vehicle quickly.

              Thank You
              Stacey Wright
              580-302-1849

https:llmail.googJe.com/mail!?ui=2&ik= 1ed4ce26b4&vi ew= pt&cal= Todd%20and%20Stacey%20W ri@hl&search=cat&lh=150954804265af9c&simJ;::; 15095480426. . .   1/2
                                                                                             I
                    Case 5:16-cv-00149-D Document 1-1 Filed 02/17/16 Page 33 of 115
.11/1712015                                                      Gmail- Fwd: OKBA-·OOO:JIJ9DOO




              Sent from my iPhone

              This e-mail message, including any attachments, is for the s                Ie use of the intended recipient, and
              may contain material that is privileged or confidential and leg             lIy protected from disclosure. If you
              are not the intended recipient or have received this message                n error, you are not authorized to
              copy, distribute, or otherwise use this message or its attach               ents. Please notify the sender
              immediately by retum e-mail and permanently delete this me                    age and any attachments.




https:Jlmail.google.com/mailr?ui=2&ik=1ed4ce26b4&vietv=pt&cat=Todd%20and%20Stacey%20Wri   t&search;;:cat&th=150954804265affk:&siml=15095480426...   2!2
Case 5:16-cv-00149-D Document 1-1 Filed 02/17/16 Page 34 of 115




                                               E HIBIT 5
                    Case 5:16-cv-00149-D Document 1-1 Filed 02/17/16 Page 35 of 115

                                                                                                                      . Date:    10/ 1/2015 03:42 PM
                                                                                                                 Estimate 1D:    OKBA-0000090000201
                                                                                                            EstImate Version:    0
                                                                                                                  Committed
                                                                                                                   Profile 10:   * OKC

   Estimate days to repair:
   Driveable YIN:
                                                             T VEHCILE - COLLECT ALL FROM CLMT
   *** IF THIS ESTIMATE IS FOR A CLAI                                                !
    OI~NER ***

   ********************************** **********************************
   NO SUPPLEMENTS WILL BE HONORED WIT OUT PRIOR INSpkcTION OR APPROVAL
    ********************************** ***********************k***********
    Mercury Insurance would like to th                      nk you for allowing us to work
    together to estimate the damage to                      the vehicle mentioned below.
    In order to expedite repairs for a                      y additional d'amage found, please
    call the SUPPLEMENT HOT LINE at(40                      ) 621-6B03.
    **Prior approval is required for a 1 supplemental Damage**


                                          American           ercury Insurance Group
                                                  8240 N.   opac, Ste 110, Austin, TX 78759
                                                               (405) 226-0902
                                                             Fax: (877) 397-8078


                                                                         Adjustor:       Katie Coll1ns
    Damage Assessed By:    BRANDON STONE
          Oasslfication:   Reid

     Brandon Stone
     cell~ 405.226.0902
     faxi 877.397.B07B
     Bstone@mercuryinsurance.com

                                                                                          Type of Loss:   Property Damage
 Condition Code:    Good
   Date of Loss:    9/25/2015
   Contact Date:    10/1/2015
     Deductible:    NONE
  Oaim Number:      OKBA-0000090000201

        Insured:    ZACHARY WILSON WELDING
         Owner:     TODD WRIGHT

                                                    Mltche Service:   911675

                                                                            Vehide Production Date:       5/15
     Description:   2015 Chevrolet Suburban LT                                         Drive Train:       5.3L Inj 8 Cyl 4WD
     Body style:    40 Ut                                                                   Ucense:       2BOLSJ OK
            VIN:    1GNSIOKC6FR704991
        Mtteage:    4,667                                                                  Search Code:   OKOK
      OEM/ALT:      A
           Color:   Maroon




                                                 OKBA-OOO 090000201
ESTIMATE RECALL NUMBER: 10/01/2015 15:42:39
Mitchell Data Version: OEM: JUL...15_V                                                                                                     Page   1    of   5
                                                  Copyrig   (C) 1994 - 2015 Mitchell International
                       MAPP:JUL...15_V0906
                                                                All Rights Reserved
Software Version:         7.1.179
                          Case 5:16-cv-00149-D Document 1-1 Filed 02/17/16 Page 36 of 115


                                                                                                                      Date:     10/1/2015 03:42 PM
                                                                                                              EstImate 10:      OKBA-<J000090000201
                                                                                                         Estlmate Version:      0
                                                                                                               Committed
                                                                                                                Profile 10:     '" oKC
               Options:     PASSENGER AIRBAG, HEATED SEAT, POWE DRIVER SEAT, POWER LOCK, POWER WINDOW
                            POWER STEERING, REAR WINDOW DEFOG R, AIR CONDmONING, CRl:JISE CONTROL
                           TILT STEERING COLUMN, AM/FM STEREO,      ER AIRBAG, HEATED EXTERIOR MIRROR
                           REAR (DUAL-ZONE) AC, LEATHER SEAT, PO ER PASSENGER SEAT
                           FRONT SIDE AIRBAG WITH HEAD PRO       N, LUGGAGE RACK, PREMIUM SOUND SYSTEM
                           REAR ENTERTAINMENT SYSTEM, ANTI-LO BRAKE SYS., TRACTION CONTROL
                           RUNNING BOARDS, FOG UGHTS, ALUM/ALL Y WHEELS, REARVIEW CAMERA, REMOTE IGNITION
                           POWER LIFTGATE\TRUNK, ADJUSTABLE Fa T PEDALS, TIRE INFLATION/PRESSURE MONITOR
                           MEMORY SEAT, ANTI-THEFT SYSTEM, NAVI ATION SYSTEM, AUXILIARY -INPUT, HD RADIO
                           LEATHER STEERING WHEEL, SATElUTE RA 10, CD PLAYER, TOW HITCH RECEIVER
                           POWER ADJUSTABLE EXTERIOR MIRROR, 4 0 OR AWD, SUNROOFjMOONROOF
                           AUTO AIR CONDITION, FIRST ROW BUCK SEAT, SECOND ROW BUCKET SEAT
                           TELEMATIC SYSTEMS, UNIVERSAL GARAGE oOR OPENER, THIRD ROW SEAT
                           REAR HEATING, VENTILATION &. AIR COND ONING, 4 WHEEl DRIVE, SIDE AIR6AGS
                           AUTOMATIC HEADUGHTS, SECOND ROW       E AIRBAG WITH HEAD PROTECTION
                           INTERIOR AUTOMATIC DAY/NIGHT OR ELE    OCHRoMATIC MIRROR, MP3 PLAYER
                           DAYTIME RUNNING UGHTS, DRIVER SEAT        POWER LUMBAR SUPPORT
                           ELECTRONIC PARKING AID, ELECTRONIC ABIUTY CONTROL, FRONT HEATED SEATS
                           FRONT SEATS WITH POWER LUMBAR SUP RT, KEYLESS ENTRY SYSTEM
                           UMITED SUP DIFFERENTIAL; RAIN SENSIN WIPERS, STEERING WHEel AUDIO CONTROLS



Une    Entry      Labor                              Une Item                                           Part Type!                  Dollar            Labor
Item   Number     Type                                          __T-_______________________
                              ~op~ere~ti~on~_______ ~D~~~~p_ti~on                                       Part Number                 Amount            Units
       900500     BDY *       ADO'L LABOR OP         EPC                                                *'" QUAl REPL PART               3.00 ,.       0.0*
 2     900500     BOY '"      ADO'L LABDR OP                                                            ,.,. QUAL REPL PART              6.00"         0.0*
 3     900500     BOY"        AOO'L LABOR OP                                                            ** QUAL REPL PART              10.00 *         0.0*
 4     900500     BOY"        ADD'L LABOR OP                                                            ** QUAL REPL PART                7.50 *        0.0*
 5     900500     BOY"        ADD'L lABOR OP         TowIng                                             Sublet                       121.90 *          0.0*
                                                                      MANUAL ENTIUES
6      900500     MCH *       ADD'L LABOR OP         FOUR WHEE AUGNMENT                                 Sublet                            74.95" 0.0*
7      900500     BDY *       ADO'l LABOR OP         MOUNT &. BA NCE INCLUDES STEM &. WEIGHTS           Sublet                            18.50 "' 0.0*
8      900500     BDY *       ADO'L LABOR OP         TIRE OISPOS L                                      Sublet                             2.00" 0.0*
                                                                          Front Door
9      100669     REF         BLEND                                                                                                               C 1.1
10     100562     BDY         REMOVE/INSTAll                        Mirror                                                                            INC #
11     100565     BOY         REMOVE/INSfALL                        uldlng                                                                             0.9 #
12     100142     BDY         REMOVE/REPLACE                          e Nameplate                       15825694      GM PART             49.00        0.2
13     101934     BOY         REMoVE/INSTALL         L Frt Door Tn Panel                                                                              INC
14     100104     BOY         REMOVE/INSfALL         L Frt Otr Doo Handle                                                                              0.3
15     100081     BOY         REMOVE/INSTALL                                                            existing                                       0.4 r
16     101893     GLS         REMOVE/INSTALL                                                            ExistIng                                       0.2'"
17     100083     BDY         REMOVE/lNSfALL                                                            existing                                       0.2 r
18     100085     BOY         RENOVE/lNSTALl                                                            Exlsting                                       0.2 r
                                                                           Rear Door
19     100200     BOY         RENOVE/REPLACE         L Rear Door hell                                   22957424      GM PART            881.51        4.9
20                REF         REFINISH               L Rear Door utsIde                                                                           C 2.6
21                REF         REFINISH               L Rear Add F r Jambs & Interior                                                              C 1.0
22                MCH         REMOVE/REPLACE         L Rear Add      R&.IjR&.R Side Alr Bag Sensa                                                   0.3
Z3     101187     BOY         REMOVE/INSfALL         L Rear Door ront Appnque                                                                         INC    #
24                BOY         REMOVE/INSTALL         L Rear Otr 8 It Moulding                                                                         INC
25     101182     BOY         REMoVE/INSTALL         L Rear Door ear Applique                                                                         INC    #
26     101185     BDY         REMOVE/INSTALL         L Rear Upr 0 or Moulding                                                                         INC    #
27     101932     BDY         REMOVE/INSTALL         L Rear Door rim Panel                                                                            INC
28     101441     BOY         REMOVE/INSTALL         L Rear Otr D or Handle                                                                           INC    #
29     101491     BOY         REMOVE/INSTALL                        eather:strlp                       ExlstIng                                       INC     r
30     101493     BOY         REMOVE/INSTALL                        or Weatherstrfp                    ExistIng                                       INC      r
                                                                         QUarter Panel
31     101029     BDY        REMOVE/REPLACE          L Quarter 0 er Panel                              22979707    GM PART·              861.68       18.S #
32                REF        REFINISH                L Quarter Pa el Outside                                                                      C 2.9
33                REF        REFINISH                L Add For Pi! ar                                                                             C 0.5

 ESTIMATE RECALL NUMBER: 10/01/2015 15:42:39 OKBA-oOOO 0000201
 Mitchell Data Version: OEM: JUL_153
                        MAPP:JUL....15_V0906   Copyright C} 1994 - 2015 Mitchell International                                           Page     2    of        5
 Software Version:         7.1.179                          All RIghts Reserved
                      Case 5:16-cv-00149-D Document 1-1 Filed 02/17/16 Page 37 of 115


                                                                                                                  Date:    10/l/2015 03:42 PM
                                                                                                           Estimate ID:    OKBA-OOOO090000201
                                                                                                      Estimate Version:    0
                                                                                                            Committed
                                                                                                             Profile ID:   "'OKC
34              REF       REFINISH               L Quarter Pan    Edge                                                                       C 0.5
:35             MCH       REMOVE/REPLACE         LAddTo R&II      &R Side Curtain Air Bags-M                                                     0.8   #
36    100048    BOY       REMOVE/REPLACE         L Quarter Fuel    oor                            22796503     GM PART               22.07      INC
37              REF       REANISH                L Fuel Door                                                                                    INC    #
38              REF       REANISH                L Add For Ins!   e Fuel Ooor                                                                C 0.2
39    100049    BOY       REMOVE/REPLACE         L Quarter Pr                                     N.A.       GMPART                   0.00   '" INC    #
40              BOY       REMOVE/INSTALL         Rear Bumper                                                                                    INC    #
41    100053    BOY       REMOVE/REPLACE         L Quarter Inn                                   22958202      GM   PART           218.98        4.5
42    100697    BOY       REMOVE/REPLACE         L Inr Quarter                                   22818038      GM   PART            44.03        2.8
43    100586    BOY       REMOVE/REPLACE         L Otr Quarter                                   22789624      GM   PART            59.n         1.2
44    100592    BOY       REMOVE/REPLACE         LQuarterWh       Ihouse Uner                    22806443      GM   PART            52.63       INC
45    100720    BOY       REMOVE/REPLACE         L Quarter Adh      e Nameplate                  22980986      GM   PART             6.04        0.1
                                                                     2Yi!!j;etGI~
46    101299    GLS       REMOVE/REPLACE         L QtrGlassS tlonary                             23137331 GM PART                  296.08    INC #
47    101312    BOY       REMOVE/REPLACE         Qtr Glass Adh                                   N.A.    GM PART                    15.00 '"
                                                                    blfigj!!:e
48    100266    BOY       REMOVE/REPLACE        Uftgate Shell                                    22756787      GM PART             995.00       4.2    it
49              REF       REANISH               Uftgate Outs! e                                                                              C 2.3
50              REF       REANlSH               Add For Jam & Interior                                                                       C 1.5
51    100287    BOY       REMOVE/INSTALL        Uftgate Open ng Weatherstrip                     Existing                                      INC         r
52    100n7     BOY       REMOVE/INSTALL        Uftgate Spoil r                                                                                 0.2    #
53    101871    BOY       REMOVE/INSTALL        UftgateAppll ue                                  Existing                                      INC     tJr
54              BOY       REMOVE/INSTALL        Lwr Uftgate rim Panel                                                                          INC
55    100291    BOY       REMOVE/INSTALL        Uftgate Wlp Arm                                  Existing                                      INC     #r
                                                                   B~il[S!!meru!lO!l
56    100330    MCH       REMOVE/REPLACE        l Rear SUsp od< Absorber              -M         23458661      GM PART             259.10       0.7 #
57    100302.   MCH       REMOVE/REPLACE        RearSusp Ai Compressor               -M          22797525      GM PART             296.61       0.8
                                                                      B~£![~o~
58    100904    BOY       REMOVE/REPLACE                      ner                                22979701      GM PART              n.39       3.8
59    100699    BOY       REMOVE/REPLACE                      ate Opening Panel                  23159074      GM PART              53.18      3.5
60    101918    BOY       REMOVE/REPLACE                      oulding                            23167643      GM PART              38.85      0.3
61              REF       REANISH                             anel Moulding                                                                  C 0.8
                                                                      R~r!d!mRl!
62    101533    BOY       REMOVE/REPLACE        l Rear Com matlon Lamp Assembly                  23476137      GM PART             495.00      INC #
                                                                  B!;lSr ~Ymne[
63    100041    BOY       OVERHAUL              Rear Bumpe CoverAssy                                                                         1.1 it
64    101040    BOY       REMOVE/REPLACE        Rear Bump Cover                                  23142969      GM PART             795.00   INC #
65              REF       REANISH               Rear Bump Cover                                                                           C 2.6
66              BOY       REMOVE/REPLACE        Rear Add W side Object Sensor                                                                0.4
67    101059    BOY       REMOVE/REPLACE        Rear Bum     Step Pad                            22936468      GM PART             138.29   INC
68    100980    BOY       REMOVE/REPLACE        l Rear ParkI 9 Outer Sensor                      23428268      GM PART             149.50   INC #
69              REF       REANlSH               L Rear Otr rklng Sensor                                                                   C 0.2
70    101057    BOY       REMOVE/REPLACE        Rear ParkIn Sensor Harness                       23491502      GM PART              87.91        #
                                                                        :aRES
71    900500    MOi       REMOVE/REPLACE                    Dueler HL Alenz 285/45R2.2 H         ** QUAL REPL PART                 214.18
72                                                          - 405-529-6789
                                                            0      0
73    933002    REF       AOO'LOPR                                                                                                           2.5'"
74    900500    BOY   *   ADO'l LABOR OP                                                         Existing                                    1.0'"
75    900500    BOY   *   AOO'l LABOR OP                                                         Sublet                            137.50 '" 0.0'"
76

77                        ADO'LCOST             Paint/Mate, als                                                                    500.00 '"




ESTIMATE RECALL NUMBER: 10/01/2015 15:42:39 OKBA-OOO 090000201
Mitchell Data Version: OEM: JUL15_V
                       MAPP:JUL15_V0905       Copyrlg t (C) 1994 - 2015 Mitchell Internatlonal                                  Page         3 of      5
Software Version:         7.1.179                           All Rights Reserved
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                                                                                                                                   Date:   10/ 1/2015 03:42 PM
                                                                                                                           Estimate 10:    OKBA-0000090000201
                                                                                                                      Estimate Version:    a
                                                                                                                            Committed
                                                                                                                             Profile 10:   '" OKe

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                   * - Judgment Item                              i
                   # - Labor Note Applies           ~
                   C - Included in Dear Coat Calc
                   r - CEG R&R Time Used For This La or Op ration




                                                       Add'i
                                                       Labor              5 blet
 r.   Labor Subtotals             Units    Rate       Amount             A ount        Totals    II.   Part Replacement Summary                                       Amount
        Body                      48.7     50.00         0.00                  9O   2,714.90           Taxable Parts                                                  6,130.50
                                                                         2t-
        Refinish
        Glass
                                  18.7
                                   0.2
                                           50.00
                                           46.00
                                                         0.00
                                                         0.00
                                                                           5.  00
                                                                            I .00
                                                                                      935.00
                                                                                        9.20
                                                                                                              Sales Tax                    @        8.37S%              S13.43

        ~1echanical                2.6     75.00         0.00             11 .95      269.95           Non-Taxable Parts                                                    3.00

                               Non-Taxable Labor                                    3,929.05           Total Replacement Parts Amount                                 6,646.93

      Labor Summary               70.2                                              3,929.05


m.    Additional Costs                                                                Amount    N.     Adjustments                                                Amount
            Taxable Costs                                                            500.00            Insurance Deductible                                                 0.00
                              Sales Tax              @            8.375%              41.88
                                                                                                              Customer Responsibility                                       0.00
            Total Additional Costs                                                   541.88

            Paint fvlaterial Method: Rates
            Init Rate == 40.00 ,lnit Max Hours = 99.9, Addl       ate   = .00

                                                                                                  I.       Total Labor:                                            3(929.05
                                                                                                 II.       Total Replacement Parts:                                6,646.93
                                                                                                III.       Total Additional Costs:                                   541.88
                                                                                                                 Gross Total:                                     1l,117.86


                                                                                                N.         Total Adjustments:                                          0.00
                                                                                                                 Net Total:                                       11,117.86


  THIS ESTIMATE HAS BEEN PREPARED Blf-SED. N THE USE OF CRASH PA..~TS SUPPLIED
  BY A SOURCE OTHER THAN THE MANUFAG:TORE   OF YOUR NOTOR VEHICLE. WAR..~TIES
  APPLICABLE TO TF.ESE REPLACEMENT pkTS     PROVIDED BY TF.E ~.ANUF'ACTURER OR
  DISTRIBUTOR OF THESE PARTS RATHER THAN THE MANUFACTURER OF YOUR VEHICLE.


  Point(s) of Impact
  8 Left Rear Side (P)


            Insurance Co:     American r·1ercury Insurance       mpany


           Inspection Site:   HYDRO AUTO SALVAGE
                 Address;     928 W 4Tli 51
                              liYDRO, OK 73048
          InspectIon Date:    10/ 1/2015
 ESTfI·1ATE RECALL NUfv1BER: 10/01/2015 15:42:39 OK A-0000'900D020l
 Nitchell Data Version:   OElvl: JUL_15_V
                          (vlAPP:JUL_15_V0906      lPyrigh (C) 1994 - 2015 f4itchell International                                                  Page     4   of     5
 Sofnvare Version:            7.1.179                          All Rights Reserved




                                                             I
                    Case 5:16-cv-00149-D Document 1-1 Filed 02/17/16 Page 39 of 115

                                                                                                          . Date:    10/1/201503:42 PM
                                                                                                     Estimate IO:    OKBA..(JOOOO90000201
                                                                                                Estimate Version:    0
                                                                                                      Committed
                                                                                                       Profile ID:   ,. OKe


     THIS IS NOT AN AUTHORIZATION T               RE   AIR. THE UNDERSIGNED REPAIR
     FACILITY AGREES TO REPAIR THIS              VEH   CLE USING INDUSTRY ACCEPTED
     EQUIPMENT AND METHODS, AND TO               aMP   ETE AND GUARANTEE SAFE REPAIRS AT
                                                 INC   UDING ALL CHARGES. NO SUPPLEMENTS
     A PRICE OF $                  f

     WILL BE HONORED WITHOUT PRIOR               PPR   VAL.

     SIGNED:




E5l1MATE RECAU NUMBER: 10/01/2015 15:42:39 O~ -000     90000201
                       OEM: JUL1S_V                                                                                            Page   5     of   5
Mitchell Dati Version:
                       MAPP:JUL_1S_V0906
                                            :
                                             Iopyrlg   (C) 1994 - 2015 Mitchell International
Software Version:        7.1.179             .             All Rights Reserved
Case 5:16-cv-00149-D Document 1-1 Filed 02/17/16 Page 40 of 115




                                                E HIBIT 6
                   Case 5:16-cv-00149-D Document 1-1 Filed 02/17/16 Page 41 of 115
                                     .. -.---- ._------------------------
                                                -~-




                                                                  ike's Body Shop                                     Workfile [0:                     e699fe60
                                                                                                                      Federal 10:                   XX-XXXXXXX
                                                   For th se who care about their car                                   State 10:              STS-1000654S-0S
                                                200 S. Ac ess Rd, Weatherford, OK 73096
                                                          hone: (800) 783-1025
                                                          FAX: (580) 774-0680
                                                                 reliminary Estimate

Customer: WRIGHT, TODD &. STACY
                                                                     Written By: Mike

Insured:             WRIGHT, TODD & STACY            Policy #:                                          Claim #:
Type of Loss:                                        Date of                                            Days to Repair:    0
Point of Impact: 07 Left Rear

Owner:                                                            Location:                             Insurance Company:
WRIGHT, TODD & STACY                                             Shop                                   MERCURY INSURANCE COMPANY
(580) 819-3325 Cell


                                                    Repair Fa lity
                                                    (800) 783 1025 Business



                                                                        VEHICLE

Year:       2015                     Body Style:                               VIN:       1GNSKJKC6FR704991               Mileage In:               4667
Make:       CHEV                     Engine:                                   Ucense:    280LSJ                          Mileage Out:
Model:      K1500 4X4 SUBURBAN LT    Production Date:                          State:     OK                              VehldeOut:
Color:     RED Int:                  Con"dition:                               Job #:



         TRANSMISSION                       Air Conditioning                        FM Radio                                   Lane Departure Warning
         Automatic Transmission             Intenmittent Wi                         Stereo                                     ROOF
         Overdrive                          lilt Wheel                              Search/Seek                                Luggage/Roof Rack
         POWER                              Cruise Control                          CD Player                                  SEATS
         Power Steering                     Rear Defogger                           Auxiliary Audio Connection                 Bucket Seats
         Power Brakes                       Keyless Entry                           Premium RadIo                              Redining/Lounge Seats
         Power Windows                      Alanm                                   Satellite Radio                            Leather Seats
         Power Locks                        Message Center                          SAFETY                                     Heated Seats
         Power Mirrors                      Steering Wheel. ouch Controls           Drivers Side Air Bag                       WHEELS
         Heated Mirrors                                                             Passenger Air Bag                          Aluminum/Alloy Wheels
         Power Driver Seat                                                          Anti·Lock Brakes (4)                       PAINT
         Power Passenger Seat                                                       4 Wheel Disc Brakes                        Three Stage Paint
         Memory Package                     Dual Air Conditi n                      Traction Control                           TRUCK
         Power Adjustable Pedals                                 /Parking Sensors   Stability Control                          Trailer Hitch
         DeCOR                              Remote Starter                          Front Side Impact Air Bags                 Trailering Package
         Dual Mirrors                       Home Unk                                "Head/Curtain Air Bags                     Running Boards/Side Steps
         Console/Storage                    RADIO                                   Communications System                      Power Trunk/Gate Release
         CONVENIENCe                        AM Radio                                Positraction




                                                                              097619                                                                       Page 1
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                           .-.. ---- ..... _-.----1--------_.__ . . _..._.-.---.-___ ._ . . . ___-,-_________


  I,
                                                                    reliminary iEstimate

Customer: WRIGHT, TODD &. STACY
                                          Vehicle: 2015 CHEV 1500 4X4 SUBURBAN LT 40 UTV 8-5.3L-FI RED



  Una                      Oper                 Description                   Part Number           Qty     Extended              Labor            Paint
                                                                                                              Price $
    1     REAR BUMPER
    2                              D/H rear bumper                                                                                   2.4
    3                      Repl    Bumper cover                                       23142959         1        795.00              Ind.              3.2
   4                               Add for Three Stage                                                                                                2.2
   5                       Repl    LT Side bracket                                    22806431         1          12.18              0.1
   5                       Repl    Step pad    wlo chrome molding                     22936458         1        138.29              Ind.
   7                       Repl    Aa:ess   cover                                     23142973         1          95.00             Ind.              0.4
   8                       Repl    Impact bar wlpower park t rake                     22900139         1        558.13               0.3
_ ..?... ______           ._~ep! .. _~a_~~ ":'I.~~"!.P~§...   _-+______......._._2_3__4.9_1_5_02____1_.___ 8_7.9_1 _ _ .___ ._!~~'.__
   10     REAR LAMPS
   11                      Repl    LT Combo lamp assy                                 23476137         1        495.00              Ind.
   12                      Repl    LT Combo lamp assy sere"..                         11509457         1           1.05
   13                      Repl    LT Combo lamp assy retain r                        22884291         1           3.4S
                                                    ..
..__1~ _____.......... _._~~) .. ~:.~~r::~~!!:..rr.:.~ a~.~_t--+-_ _ _ ..... _._. __ .... _l_1_51_0_5_10____1_______ .1.0~_ .. _._. ___ ...... ____ .. _ _
   15     UFTGATE
   16                      Repl    Uft gate Suburban                                  22756787         1        995.00               4.6              3.7

   17                              Add for Three Stage                                                                                                2.6
   18                      Repl    Nameplate "SUBURBAN"                               15860871         1          80.52              0.2
   19                      Repl    Lower bim panel wlpower 1ft                        23440139         1         145.42             Ind.
... . ...... _ _ . __ .. _........ ~~!e. c~:?a .._.. .......--11----........... __.._ _ _ _ _ _.____.._ . _ _ _ _ _....... ____ ..___ .____
   20    REAR SUSPENSION
   21                      Repl    Cover gasket                                       22943110         1          31.99             Ind.

   22                      Repl    Axle housing w/limited slip                        23199119         1      1,821.98 m             5.9 M
   23                      Repl    LT Axle bearing                                    12479031         1          57.00 m           Ind. M
   24                      Repl    Bleed brake system                                                  1                  m          O.S
   25                      Repl    RT Axle bearing                                    12479031         1          57.00 m           Incl. M

   26                      Repl    RT Axle seal                                       12471686         1          14.16             Incl.

   27                      Repl    LT Axle seal                                       12471686         1          14.15             Inc!.

   28     #              .. _.R:!:~. ~e Gr~ase..~vr:.th!~~ .. __1--_ _ ._ ..... ____ . _ _ _ _ _ _2_ _ _~~:.2.8        __. ____._. _______
   29     FUEL SYSTEM
   30                      Rep)    Filler pIpe Suburban & Yuk n XL                    22772987         1         128.52 m            0.8 M
                     E85--. --_.-.... -.. ---.-l-----.- --....... - - - - - - - - -....---.. - - - - -...- .............- . - -
_. ___._______ .....-.....
   31     QUARTER PANEL
   32                      Repl    LT Quarter panel                                   22979707                  861.88              18.5              3.4

   33                              Overlap Major Adj. Panel                                                                                          -0.4
   34                              Add for Three Stage                                                                                                1.2

   35                              Deduct for Rear Bumper R~                                                                        ·1.0

   36                      Repl    Fuel door                                          22796503                    22.07              0.3              0.3

   37                              Add for Three Stage                                                                                                0.1
   38    ,.                Repl    LT Fuel pocket                                     22819288         1          39.25              Q.S

   39                      Repl    LT Wheelhouse liner Subu Iban                      23264145         1          52.53             rnd.

   40                      Repl    LT Rear molding                                    23157643         1          38.85             Ind.              0.7

   41                      Repl    LT Wheelhouse liner nut ~pnt                       11610510         7           7.35




                                                                                097519                                                            Page 2
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     -'"'                                                                  relirninary Estimate
~--~------------------------r_------------------------------------------
Customer: WRIGHT, TODD & STACY
                                                   Vehicle: 2015 CHEY 1500 4X4 SUBURBAN LT 40 lITV 8-5.3L-FI RED

     42                            Repl     LT Wheelhouse liner retaim r                       1605396        2           6.94
     43                            Rep!     LT Water drain pnl                               23200189         1          20.57
     44                            Rep!     LT Qtr glass from 01/23/20 4,                    23482874         1        352.35                 Ind.
                                            w/privac; tint w/theft sensl r
     45                            Repl     LT Inner panel                                  22958202          1        218.98                  3.0              0.8
     46        '*                  Repl     LT Inner panel baffle upper                     23156966          1          15.40                 Jl..S
     47        "                   Repl     LT Rear extn                                    22818038          1         44.03                  z.j
    48                             Repl     LT Rear extn baffle                             23477220          1           8.27
    49         "                   Repl     LT Extension panel                              22789622          1         28.08                  .!U
    50                             Repl     LT Inner wheelhouse front                       22789624          1         59.77                  1.5              0.3
    51                                      Add for Three Stage                                                                                                 0.1
    52                             Repl     LT Inner wheelhouse rear                        22789626          1         56.25                  1.5              0.3
    53                                      Add for Three Stage                                                                                                0.1
    54                            Repl      Lower qtr trim w/power co fig                   23488205          1        228.97                Ind.
                                            cocoa

    55        . ____ ...... _... _~:P.I. L!.N.~r:::epla.~:::~T.:                            22980986          1           6.04                 0.2
    56          PILLARS, ROCKER & FLOOR
    57                            Repl      Rear crossmember                                23426275          1        122.97

    58         "                   Rpr      Center floor pan                                                                                                    1.5
    59                                      Add for Three Stage                                                                                                 0.6
    60         #                   Rpr      Frame Rack Set Up                                                                                  2.0 F
    61
    62
              _ _ _ " ____ ~~_. _~!.~.u~!1jn!!~.':a~_ . "_'_-1-_ _, ___ .__...... _ _ _ __
               REAR DOOR
                                                                                                                     _._--_ .._---_... _.-._---1.0


    63                            Repl      LT Door shell Suburban                          22957424          1        881.51                  4.6             3.1
    64                                      Overlap Major Adj. Panel                                                                                           -0.4
    65                                      Add for Three Stage                                                                                                1.1
                                          ... - -' ." ......._ .... · - · · - · - t - - -..--·--·--..- · - - - - · - - - - - - - - - -.. - ..-.. -·- .. ---.---
    66         FRONT DOOR
    67                            Bind      LT Outer panel Suburban                                                                                            1.5
    68         *                   R&I      LT Front w's!rip                                                                                   l1Z
    69         *                   R&I      LT Lower w's!rip                                                                                   l1Z
    70                             R&I      LT Belt molding                                                                                    0.3
    71                             R&I      LT Upper molding                                                                                   0.2
    72                             R&I      LT Applique                                                                                        0.2
    73                            Repl      LT Nameplate "SUBURBAN                          15825694          1         49.00                  0.2
    74                             R&I      LT Mirror assy w/power fol                                                                         0.4
                                            w/bllnd spt
    75         *                   R&I      LT Glass run                                                                                       M
    76         *                   R&I      LT Door glass NAGS                                                                                 ~
    n                              R&I      LT Handle, outside paint/c rome                                                                    0.4

.....- _._.
    78
    79
              - - --"-' .... _.R&I....
               REAR BODY
                                             . .......- - .. .........-
                                            LT R&I trim panel
                                                             "'                 _.. - .... _._..._._._------ .---- - .           __            0.4
                                                                                                                                      ....- .... -   .......-. ----

    80                            Repl      LT Lower panel                                  22786707          1         25.45                  1.0             0.3
    81                                      Add for Three Stage                                                                                                 0.1
    82                            B!nd      RT Lower panel                                                                                                     0.2
    83                            Rep!      LT Side panel                                   22786698                    47.87                  3.0             0.5

    84                            Rep!      LT SIde frame                                   23159074          1         53.18                  4.0             1.5




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                                                                                  'reliminary Estimate

    Customer: WRIGHT, TODD &. STACY
                                                     Vehicle: 2015 CHEV 1500 4X4 SUBURBAN IT 40 UTV 8-5.3l-FI RED

       85                                     Add for Three Stage
       86                              Repl   l T Filler panel                                           22979701               1       77.39      1.0
       87                                     Add for Three Stage
       88       '"                     R&I    Carpet Suburban & Yukon l,
                                              w/fr bucket cocoa
       89                              R&I    Scuff plate w/o Suburban L or                                                                        0.3
                                              Yukon XL SLT dune
       90
                ,.              R&I Storage box Suburban & Y kon                                                                                   ll.J.
                                         XL w/o Denali dune
               - - - - - - ......-....... '''- .....-. _........" .." - - l - - . -
       91      WHEELS

.
         92
    .... --_ .. _--..... - ....   ,"                                                                   _-----_._------_
                                                                                           ........._._ .... 2290S550     ....._- ... -.--
                                                                                                                   895.00 m             0.3
       93       TIRES
       94       *                      Rep!   BDGST P285/45R22 Duele AT                                   BR01232               1                  0.3
                                              RH·S BW 110H
       95       #                      Subl   TRIP CHARGE TO AUNGM NT                                                           1       30.00 X
                                              SHOP
               .. -----. -_.                                        ..   '.'-'-   -.-.-~   ..
       96       ELECTRICAL
                ...                    Sub!   Four Wheel Alignment                                                              1       89.00 X
                .."
       97
       98                              Rep!   Compressor                                                 22797525               1      296.61
      99        #                      Rep!   SUNROOF OPEN                                                                      1
      100       #                      Subl   Hazardous Waste                                                                   1        5.00 X
      101       it                            Mask For OVer Spray                                                               1       10.00
      102       it                     Repl   Urethane Adhesive                                                                 3       82.32
      103       #                      Repl   Corrosion Protection                                                              1       10.00
      104       #                             Feather, Prime & Block                                                            1                  1.5
      105       #                             Finish, Sand & Buff                                                               1                  1.5

      106                                                                                  OTHER CHARGES
      107       #                                                                          Towing                               1      606.90
                                                                                           SUBTOTALS                                11,187.76     75.8      30.4




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                                                  reliminary Estimate

Customer: WRIGHT, TODD &. STACY
                               Vehicle: 2015 CHEV 1500 4X4 SUBURBAN LT 4D UTV 8-S.3L-FI RED

                         ESTIMATE TOTALS
                         Category                                                   Basis               Rate       Cost $
                         Parts                                                                                   10,456.86
                         Body Labor                                               67.1 hrs    @   $ 50.00 /hr     3,355.00
                         Paint Labor                                              30.4 hrs    @   $ 50.00 fhr     1,520.00
                         Mechanical Labor                                          6.7 hrs    @   $ 80.00 /hr       536.00
                         Frame Labor                                               2.0 hrs    @   $ 60.00 /hr       120.00
                         Paint Supplies                                           30.4 hrs    @   $ 38.00 /hr     1,155.20
                         Miscellaneous                                                                              124.00
                         Other Olarges                                                                              606.90
                         Subtotal                                                                                17,873.96
                         Sales Tax                                             $11,612.06     @    9.5000 %       1,103.15
                         Grand Total                                                                            18,977.11
                         Deductible                                                                                   0.00
                         CUSTOMER PAY                                                                                0.00
                         INSURANCE PAY                                                                          18,977.11




THIS ESTIMATE MAY HAVE BEEN PREPARED BA pED ON THE USE OF CRASH PARTS SUPPUED BY A SOURCE OTHER
THAN THE MANUFACTURER OF YOUR MOTOR 'v EHICLE. WARRANTIES APPUCABLE TO THESE REPLACEMENT
PARTS ARE PROVIDED BY THE MANUFACTURER OR DISTRIBUTOR OF THESE PARTS RATHER THAN THE
MANUFACTURER OF YOUR VEHICLE.

WARNING: ANY PERSON WHO KNOWINGLY/ A m WITH INTENT TO INJURE, DEFRAUD OR DECEIVE ANY INSURER,
MAKES ANY CLAIM FOR THE PROCEEDS OF AN NSURANCE POUCY CONTAINING ANY FALSE, INCOMPLETE OR
MISLEADING INFORMATION IS GUILTY OF A FE ONY.




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                                                               reliminary Estimate
            Customer: WRIGHT, TODD & STACY
                                            Vehicle: 2015 CHEY 1500 4X4 SUBURBAN LT 4D U1V 8-5.3L-FI RED

            Estimate based on MOTOR CRASH ESTIMATING GUIDE and potentially other third party sources of data. Unless
            otherwise noted, (a) all Items are derived from e Guide DR1GA15, CCC Data Date 10/1/2015, and potentially other
            third party sources of datai and (b) the parts pr sented are OEM-parts manufactured by the vehicles Original
            Equipment Manufacturer. OEM parts are availa Ie at OE/Vehide dealerships. OPT OEM (Optional OEM) or ALT OEM
            (Alternative OEM) parts are OEM parts that may be provided by or through alternate sources other than the OEM
            vehicle dealerships. OPT OEM or ALT OEM pa         may reflect some specific, spedal, or unique pricing or discount.
            OPT OEM or ALT OEM parts may fnclude "Blemi hed" parts provided by OEM's through OEM vehicle dealerships.
            Asterisk (*) or Double Asterisk (**) Indicates th t the parts and/or labor data provided by third party sources of data
            may have been modified or may have come fro an alternate data source. Tilde sign (N) items indicate MOTOR
            Not-Included Labor operations. The symbol « ) indicates the refinish operation WILL NOT be performed as a
            separate procedure from the other panels in th estimate. Non-Original Equipment Manufacturer aftermarket parts
            are described as Non OEM, AIM or NAGS. Us          parts are described as LKQ, RCY, or USED. Reconditioned parts are
            described as Recond. Recored parts are describ as Recore. NAGS Part Numbers and Benchmark Prices are
            provided by National Auto Glass Specifications.     bor operation times listed on the line with the NAGS information
            are MOTOR suggested labor operation times. N GS labor operation times are not included. Pound sign (#) items
            indicate manual entries.
            Some 2016 vehicles contain minor changes fro the previous year. For those vehicles, prior to receiving updated
            data from the vehicle manufacturer, labor and p rts data from the previous year may be used. The CCC ONE
            estimator has a fist of applicable vehicles. Parts numbers and prices should be confirmed with the local dealership.

            The following is a list of additional abbreviations or symbols that may be used to describe work to be done or parts to
            be repaired or replaced:
            SYMBOLS FOLLOWING PART PRlCE:
            m=MOTOR Mechanical component. s=MOTOR tructural component. T=Mlscelianeous Taxed charge category.
            X=Miscellaneous Non-Taxed charge category.

            SYMBOLS FOLLOWING LABOR:
            D=Diagnostic labor category. E=Electrical labor category. F=Frame labor category. G=Glass labor category.
            M=Mechanicallabor category. S=Structural lab r category. (numbers) 1 through 4=User Defined Labor Categories.

            OTHER SYMBOLS AND ABBREVIATIONS:
            Adj.=Adjacent. Algn.=Align. ALU=Aluminum.         /M=Aftermarket part. Blnd=Blend. BOR=Boron steel.
            CAPA=Certified Automotive Parts Association.      &R=Disconnect and Reconnect. HSS=High Strength Steel.
            HYD=Hydroformed Steel. Incl.=Included. LKQ         Like Kind and Quality. LT=Left. MAG=Magnesium. Non-Adj.=Non
            Adjacent. NSF=NSF International Certified Part      O/H=Overhaul. Qty=Quantlty. Refn=Refinish. Repl=Replace.
            R&I=Remove and Install. R&R=Remove and R'         place. Rpr=Repair. RT=Right. SAS=Sandwiched Steel.
            Sect=Section. Subl=Sublet. UHS=Ultra High S       ength Steel. N=Note(s) associated with the estimate line.

            CCC ONE Estimating - A product of CCC Informa [on Services Inc.

            The following Is a list of abbreviations that may e used in CCC ONE Estimating that are not part of the MOTOR
            CRASH ESTIMATING GUIDE:
            BAR=Bureau of Automotive Repair. EPA=Envir nmental Protection Agency. NHTSA= National Highway
            Transportation and Safety Administration. PDR Paintless Dent Repair. VIN=Vehicie Identification Number.




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                                               E HIBIT 7
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OlHlook.com Print Message                                                                              Page 2 of3




  From: Stacey Wright rmailto:sassiesisters1hotmail.Coml
  Sent: Friday, October 09, 2015 6:52 PM
  To: Katie Collins
  Subject: Re: Body Shop




  Mikes Body Shop is a Body shop that I uess was requested to re-evaluate the original- the adjuster
  said it was dark and he wasn't sure on ~ome things- there is a BIG difference- no we need to discuss
  numbers because of the Diminished VJlue and with a Broken Axle- this $70,000 will never be the
  same.




  Thank you

  Sent from my iPhone


  On Oct 9, 2015, at 2:00 PM, Katie Colli s <KCollins(almercuryinsurance.com> wrote:

        Is Mike's Body Shop where you are jetting your vehicle repaired at or are you still going to
        Cummins?




        From: Stacey Wright [mailto:sassieLterS(ci)hotmaiI.COml
                                           I
        Sent: Friday, October 09, 2015 1:3 PM
        To: Katie Collins
        Subject: Body Shop




        Here is the attachment from the 130dy Shop

                                            I
        There will be a Diminished Value ~o this vehicle we will need to calculate as well.
                                            I
        Thank you

        Stacey Wright
        580-302-1849




https:/lbay169 .mai l.live.com/ollmail.ll1vcIjPrintMessages?mkt=en-us                                  10122/2015
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                                               E HIBIT
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                                                                                                                                         Date:   10/19/2015 02:22 PN
                                                                                                                                 Estimate ID:    OKBA-0000090000201
                                                                                                                            Estimate Version:    3
                                                                                                                                 Supplement:     1 (F f) 10/16/201505:55: 14              P~'l
                                                                                                                                  Correction:    1
                                                                                                                                   Profile ID:   • OKC



                                                   American                ercury Insurance Group
                                                              82'40 N. N pac, Ste 110, Austin, TX 7875"
                                                                           (405) 226-0902
                                                                         Fax: (877) 397-807f


Supplement Delta Report
Comparison of Estimate OKBA-0000090000201 Supplement 0 and Supplement 1 CorrectIOn 1
                                                                       I
       Darnage Assessed By:    BRANDON STONE .
          Supplemented By:     BRANDON 5TONE

                    Insured:   ZACHARY WILSON WELDING
                     Owner:    TODD WRIGHT
        Vehicle Description:   2015 Chevrolet Suburban LT
               Date of Loss:    9/25/2015



Line        Labor                                Line Item                                                                                  Dollar                Labor        CEG
Item        Type        Operation                Description                                                                                Amount                Units        Unit

Changed    Entries
   5        BDY        ADD'L LABOR OP            Towing                                                          Sublet                      121.90    "           0.0"
51 5        BDY        ADO'L LABOR OP            Towing                                                          Sublet                      606.90    '<          0.0*
   6        t-1CH      AOO'L LABOR OP            FOUR WHEEL AUG ~'IENT                                           Sublet                       74.95    '           0.0*
51 6        NCH        ADD'L LABOR OP            FOUR WHEEL AUG j~1ENT                                           Sublet                       89.00    '<          0.0"
   11       BOY        REt-10VE/INST ALL         L Frt Otr Belt Nouldlng                                                                                           0.9          0.9
   15<      BOY        RElvlOVE/INSTALL          l Frt atr Belt Noulrung                                                                                           0.5 <        0.9
   69       BDY        REt<10VE/INSTALL          Liftgate Applique                                               Existing                                         INC           0.3
   96<      BOY        REt<10VE/INSTALL          Uftgate Applique                                                Existing                                          0.3 <        0.3
   71       fvlCH      REt-10VE/REPLACE          Bridgestone Dueler Hl Alenz 285/45R22 H                         053984                      214.18                0.0                T
51 97<      fvlCH      REt"10VE/REPLACE          Brldgestone Dueler HL Alenz 285/45R22 H                         053984                      239.99 '<             0.0                T



                                                               Tdm pro"~
Deleted Entries
    70    BDY          REMOVE/INSTALL            Lwe U""to                                                                                                        INC           0.3
    73    REF          AOD'L OPR                 Clear Coat                                                                                                        2.5*

Added Entries
51 9      BDY          REPAIR                    Inr Floor Panel
                                                                     I                                           Existing                                          8.0*        15,0
Sl 10
Sl 11
S1 12
Sl 23
          FR~l
          BOY
          BDY
         GlS
                       ADD'L LABOR OP
                       REt'IOVE/REPLACE
                       REMOVE/INSTALL
                       REMOVE/INSTALL
                                                 L Running Board Assy
                                                                     t
                                                 SET UP & fV1EASUR FULL FRAIVIE
                                                 Rear Floor Sill Pan I

                                                 l Frt Door IVloveable Glass
                                                                                                                 Existing
                                                                                                                 23426275

                                                                                                                 Existing
                                                                                                                               Gt~   PART    122.97
                                                                                                                                                                   2.0*
                                                                                                                                                                   3.0
                                                                                                                                                                   0.6
                                                                                                                                                                   1.3
                                                                                                                                                                                3.0T
                                                                                                                                                                                0.6
                                                                                                                                                                                1.3
51 24     BOY          RE~10VEfINSTALL           L Frt Door Glass R n Channel                                    Existing                                          0.2         0.2
51 49     BDY          REHOVE/REPLACE            L Inr Quarter BaffiJ                                            23156966     GH PART         15040                0.8         0.8T
51 51     BOY          REt10VE/REPLACE           L Otr Quarter Whebillouse EXT                                   22789622    Gf1 PART         28.08                1.0         1. aT
51 54     BOY          RE~10VE/REPU\CE           L Qoort" Sid,
                                                 Rear Seat Assy
                                                                 T"1 Poe,'                                       ORDER FROf\'! DEALER        228.97               INC
                                                                                                                                                                  INC
                                                                                                                                                                               O.ST
                                                                                                                                                                               0.3
51 S5     BOY          REf'10VE/lNSTALL
S1 56     BDY          RE!"IOIJE/lNSTALL         L Rear Scuff Plate                                                                                               INC          0.2
51 64    BOY           REt~OVEfREPLACE           Uftgate Adhesive Nameplate                                      15860871   Gt'l PART     80.52                    0.1         0.2T
                                                       .            I
51 65    BDY           REIVIOVE/REPLACE          Lwr lIftgate Innerrim Panel                                     ORDER FRO~1 OEALER      152.69                   INC          0.3T
S1 67    fvlCH         REf,10VE/REPLACE          R Rear Susp Whe ,Bearing -M                                     12479031   G!'1 PART     67.00                   INC          1.9T
S1 68    IVlCH         RE~lOVE/REPLACE           L Rear Susp v'theel Bearing -t'i                                12479031   Glvl PART     67.00                   INC          1.9T
51 69    fVICH         REt·l0VE/REPLACE          R Rear Susp HouSirg Seal -f'1                                   12471686   Gt~ PART      14.16                   INC          1.9T
51 70    t·1CH         REt'IOVE/REPLACE          L Rear Susp HOusirg 5eal -M                                     12471686   Gr'~ PART     14.16                   INC          1.9T
51 71    BDY           ADO'L LABOR OP            Axle grease - synttetic                                         *" QUAL REPL PART        44.98       t-           0.0"            T
Sl 72    t-lCH         REr··10VE/REPLACE         Rear Susp Axle HoluSIng -t<l                                    23199120   Gf\'l PART 1,821.98                    6.3         6.3T

  ESTIf\'!ATE RECALL NUNBER: 10/1/2015 15:42:39 OKBA-00000iOOO0201

  Software Version:        7.1.186                      Copyright   ~C)    1994 - 2015 ~litchell fnternational                                             Page     1     of    2
                                                                           All Rights Reserved
                          Case 5:16-cv-00149-D Document 1-1 Filed 02/17/16 Page 51 of 115

                                                                                                                                        Date:     10/19/2015 02:22 Pl'l
                                                                                                                                Estimate ID:      OKBA-00OO090000201
                                                                                                                           Estimate Version:      3
                                                                                                                                Supplement:       1 (F F) 10/16/2015 05:55: 14 P[vl
                                                                                                                                 Correction:      1
                                                                                                                                  Profile ID:     '" OKC

                         REMOVE/INSTALL            Fuel Tank -1'1                                                                                                    2.4             2.4
 51 75      ~1CH
                         REMOVE/REPLA.CE           Fuel System Filler PI C                                      22772987       Gi'l PART        128.62               1.5             loST
 51 76      BDY
                                                   R lwr Inner Panel                                                                                                 0.8             0.8
 Sl 77      REF          REFINISH
                                                   L Ctr Rear Body Inn r Panel                                  22786698       Grvt PART        47.87                3.0             3.0T
 51 79      BDY          RE~10VE/REPLA.CE
                         REFINISH                  L Ctr Inner Panel                                                                                                 1.2             1.2
 51 80      REF
                                                   l Lwr Rear Body In I, er Panel                               22786707       GM PART           25.45                2.8            2,ST
 51 81      BDY          REt~OVE/REPLA.CE
                                                   L Lwr Inner Pane!                                                                                                  0.8            0.8
 51 82      REF          REFINISH
                                                   L Rear Bumper Gui e                                          22806425       Gt-1 PART         14,61               INC             0.2T
 51 95      BDY          REMOVE/REPLA.CE
                                                   THREE STAGE                                                                                                       7.9
 51 102     REF          ADD'L OPR
                                                   Carpet                                                       Existing                                             0.6*
 51 103     BDY          RE~10VE/rNSTALL
                                                   Storage box                                                  Existing                                             0.3*
 51 104     BDY          REMOVE/INSTALL




Global Changes
                                              From:        To:                 Adjustments                    Frorn:_          To:.
          Labor Rates
               jVlechanical                   75.00       80.00
               Frame                          55.00       60.00


               Estimate profile calculation settings (other than labor rat s and adjustments) have changed.


                                                                                                                                                          Amount
                                                                                                        Original Estimate:                               11,117.86
                                                                                                            Supplement 1                6,138.23

                                                                                                            Orig Total Tax                 555.31
                                                                                                            Supp 1 Total Tax               905.42
                                                                                                        Net Supplement Amount                             6,138.23

                                                                                                        Net Total                                        17,255.09

                                                                                                                            Program Calc Versions              Data Versions
                                                                                                        5upp 0                             7.1.179                 JUL_1S_V
                                                                                                        Supp 1 Corr 1                      7.1.186                SEP_15_V




    E5TIl'lATE RECALL NUf'.1BER: 10/1/2015 15:42:39 OKBA-OOOOO_ 0000201

                                                            Copyright C) 1994 - 2015 l'litd1eli International                                                 Page          2   of    2
    Software Version:         7.1.185
                                                                         All Rights Reser'led
Case 5:16-cv-00149-D Document 1-1 Filed 02/17/16 Page 52 of 115




                                                E HIBIT 9
                  Case 5:16-cv-00149-D Document 1-1 Filed 02/17/16
                                                             I     Page 53 of 115
 11f17/2015                                                          Gmail - Fwd: OKBA-00900


              -----Original Message-----
              From: Stacey Wright [sassiesisters@hotmail.com]
              Sent: Monday, October 19, 201510:36 AM Pacific Standard Time
              To: Brandon Stone
              Subject: RE: OKBA-00900

              Yes, you already called me. I said I would definitely need a copy.

              Thank you



                                                                                                 ------------------
              From: bstone@mercuryinsurance,com
              To: KCollins@mercuryinsurance.com; S8SSieSisterS@hotmail'rorn
              CC: LOPham@rnercuryinsurance.com
              Date: Mon, 19 Oct 2015 09:36:09 ·0700
              Subject: RE: OKBA-00900

              I did go out and reinspect and yes it is repairable. Mrs Wright pleas let me know if you need a copy ofthe
              supplement.

              Thank you
              Brandon Stone

              -----Original Message-----
              From: Katie Collins
              Sent: Monday, October 19, 2015 07:41 AM Pacific Standard Time
              To: Stacey Wright
              Cc: Brandon Stone; Long Pham
              Subject: RE: OKBA-00900

              Hi Stacey,




              I just left you a voice message. Brandon went out to Cummins and wrote the sEcond estimate.
              It looks like your vehicle is repairable. fl.t this time, we need you to authorize the repairs on
              your vehicle 50 that we can cover for the rental, otherwise \.;e will not be able to cover for the
              rental.




              Thanks,

              Katie CaBins
              Claims Specialists




              8240 N. fvlopac #110
              Austin, TX 78759
              800-503-3724 EXT. 44533 877-397-0709 FAX
              ~coHins@:nercuryinsurance.com




https:!fmail.google.com/maitl?ui=2&ik=1 ed4ce26b4&vi ew=pt&cat=Todd%20and%20Stacey%20W ri ht&search=cat&th= 15095455e90c2d98&siml= 15095455e9.. .   215
Case 5:16-cv-00149-D Document 1-1 Filed 02/17/16 Page 54 of 115




                                            E HIBIT 10
                   Case 5:16-cv-00149-D Document 1-1 Filed 02/17/16 Page 55 of 115
 11/17i2015
                                                   .         i OO
              ----0 d.'oo , Message---                                 Gm"'- F"do OKBA-r
              From: Stacey Wright [sassiesisters@i:olmail.com]
              Sent: Monday, October 19,2015 10:36 AM Pacific Standard Time
              To: Brandon Stone
              Subject: RE: OKBA-00900

              Yes, you already called me, I said I would definitely need a copy,

              Thank you




              From: bSlOiiG@mercuryinsurance,com
              To: KCollins@mercuryinsurance.com; sassiesisters@hotmaiLcom
              CC: LOPI,am@lliercuryinsurance.com
              Date: Mon, 19 Oct 2015 09:36:09 -0700
              Subject: RE: OKBA-00900

              I did go out and reinspect and yes it is repairable. Mrs Wright please let me know if you need a copy of the
              supplement.

              Thank you
              Brandon Stone

              -----0 rigi na I M essage-----
              From: Katie Collins
              Sent: Monday, October 19, 2015 07:41 AM Pacific Standard Time
              To: Stacey Wright
              Cc: Brandon Stone; Long Pham
              Subject: RE: OKBA-00900

              Hi Stacey,



              I just left you a voice message. Brandon went out to cummifs and wrote the second estimate.
              It looks like your vehicle is repairable. At this time, we need IloU to authorize the repairs on
              vour Vehicle so that we can cover for the rental, otherwise Ij,'e vllii! not be able to cover for the
              rental.



              Thanks,

              Katie CoWns
              CI;:;in1S Specialists




              8240 N. fviopac ;'Ii, 0
              Austin. TX 78759
              eOO-503-3724 EXT. 44533 877-397-0709 FAX




https:!imail.gcogle.comfmailnui=2&ik=1ed4ce26b4&viE\'1=pt&cat= T odd%20and%20Stacey%20W righ &search=cat&th= 15:}95455e90c2d93&sim 1= 15095455e9...   215
Case 5:16-cv-00149-D Document 1-1 Filed 02/17/16 Page 56 of 115




                                            E HIBIT 11
                         Case 5:16-cv-00149-D Document 1-1 Filed 02/17/16 Page 57 of 115
             From: Katie Collins <f<CO!!inS@rnerluryinSUrance.com>
             Date: October 22, 2015 at 11:50:43 AM COT
             To: Stacey Wright <saSSieSiSlers@~otlllail.com>1 "todd.wright@mlbconsultingusa.com"
             <todd.wright@mlbconsultingusa.co >, "wadedors@yahoo.com" <wadeclors@YClhoo.com>,
             Brandon Stone <bstone@merculyin urance.com>, Long Pham                          .
             <LOPham@mercuryinsurance.com
             Subject: RE: Delivery Status Notifif:;ation (Failure)



             Hi Stacey,



             We really need YOLI to move the velhilce to your shop of choice. I spoke with Mike at the
             dealership and I let him know startillg today we are not covering for your rental vehilce
                                                 1
             anymore until your vehcile has been moved to Mike's Body Shop or anv bodV shop of your
             choice. Wade is out of town until Wednesday.



             Thank you.




             From: Stacey Wright [mailto:sassi~sisters@hotmail.coIllJ
             Sent: Wednesday, October 21, 201£ 1:11 PM
             To: Katie Collins <KCollins@mercJryinsurance.com>; todd.wright@llllbconsultingusa.com;
             wadedors@yahoo.com; Brandon ~tone <bstone@lllercuryinsurance.colll>;
             lopham@lllercuryinsul-ane.com
             Subject: RE: Delivery Status Notifidtion (Failure)



              Every time I try to include him I get this dlr one that shows he is approving my email- I can send all 7 attempts
              if you would like.                            I
         .    Do we   ha~e ~n o.utcome to bel~w- so Ttdd and I have a better und.erstandin g of what is going on?                  .
https:llmall.gcogle.com/mallf?ul=2&lk= 1ed4ce26b4&vl ew= Pt&car T odd%20and%20Stacey%20W nght&search=cat&th= 15095450ba59f3cb&sl m 1= 15095450ba5. . .   1/6
                     Case 5:16-cv-00149-D Document 1-1 Filed 02/17/16 Page 58 of 115
11/17i2015                                                   dmai,- Fwd: Delivery Status Notification (Failure)

               value with a difference of unbelievable Jmount due to CarFax and Oklahoma laws. These are two things that
               even I as a buyer look at it every time.




               From: K COi'in:=:'@iTlercur/:nsuranC t3,C""rm
               To: s2ssiesislers(6)hotn:aii.com
               CC: bsione@rnercurjlnsurance.com; OPham@IT',ercurylilsuranc8.com
               Date: Mon, 19 Oct 2015 09:38:22 -0700
               Subject: RE: OKBA-00900

               We are needing you to get your vei iele towed to the body shop so that repairs can start. Once
               repairs have started on your vehiel ,we will be able to see any additional damage. for Mercury
               to keep covering for the rental, rep",irs need to start on your Vehicle.




               Thanks.




               From: Stacey Wright          [malito:saSSie~isters@hotmaiI.ComJ
              Sent: Monday, October 19, 2015 lOt 24 AM
              To: Katie Collins
              Subject: Re: OKBA-00900


               We did not receive the 2nd amount. Br ndon is still NOT responding to my emails or phone calls.

              We need to know what the 2nd estima                 of his is

              I have the $400 written but not approv d

                                                             t
              And I show Oklahoma shows Diminishe value as 20-25%- so we will need to figure that as well



              If you could send me all of the above

              Thank You

              Sent from my iPhone


              On Oct 19, 2015, at 9:41 AM, Katie        CO'fiIS d<Collins@mercuryinsurance.colll> wrote:
                       Hi Stacey,



                                                              I
                       I just lert you a voiCe messag'e.
                                                     , 8randon went out to Cummins and wrote the
                       second estimate. It looks lik\,= your vehicle is I-epairable ..6.t this time, we need you
                       to authorize the repairs on Vbur vehicle so that we can cover for the rental,
                       othNvvise we \"Iill not be ablb to cover for the rental.




                       Thanks,
                              =
hltps:!lm ai I.gcogle,com/mai lI?ui 2&ik= 1ed4ce26b4&vi ew= p:&car T odd%20and%20Stacey%20W ri ghl&search=cai&lh= 15095450ba59f3cb&sim 1= 15095450ba5.. ,   316
Case 5:16-cv-00149-D Document 1-1 Filed 02/17/16 Page 59 of 115




                                            E HIBIT 12
         Case 5:16-cv-00149-D Document 1-1 Filed 02/17/16 Page 60 of 115
Octf2412015 3:26:36 AM                    Mercury Insurance 877 ·397-0082




                                                                                          P.O. Box 209040
                                                                                         Austin, TX 78720
                     MERCURY                                                                (800) 503-3724
  INSURANCE GROUP




    October 23,2015


    Clayton B. Bruner, PLLC
    Weatherford Law Center
    2811 East Main Street
    Weatherford, OK 73096



    RE:        OUR JNSURED:               Zachary Wilson WeI                g
               OUR FILE NUMBER:           OKBA-00000900
               DATE OF LOSS:              09/25/15
               YOUR CLIENTS:              Stacey and Todd W .ght


   Dear Mr. Bruner:

   I am in receipt of your letter dated October 23,2015 regar . g the above referenced claim. This
   file has beer+ transferred to me for further handling.

   My understanding of the property damage to your client's ehicle is that we did a preliminary
   estimate and then asked your client to move the vehicle to body shop so it could be torn down
   and a more accurate estimate could be written. However,       ed on the amounts you are quoting
   in your letter regarding the estimated value of your client' vehicle should it be determined a
   total loss or the amount of diminished value it would have hould it be repaired, it has become
   clear that we will have a limits issue.

   Our policy is a business policy with a combined single     t and we have the property damage
   from your client's vehicle, her injury claim and the prope   damage to a second vehicle and a
   bodily injury claim to the passenger in that vehicle which 1 must be settled out of that single
   limit.

   I have asked our insured for permission to release his poli limits and he has declined to release
   his limit. However, the value of your client's vehicle alan is close to our limit.

   Therefore, I would recommend that your client use her 0       auto insurance carrier to take care of
   the damages to her vehicle as that is the fastest way to get er damages resolved and the only
   way she will get paid for 100% of her damages.

   If you have any questions or would like to discuss this cl' ,please contact me at (800) 503
   3724 x44549
         Case 5:16-cv-00149-D Document 1-1 Filed 02/17/16 Page 61 of 115
OctJ2412015 3:26:36 AM             Mercury tnsurance 877-397..(J082




         ery truly yours,
             RICAN :MERCURY INSURANCE COMPANY
     i



   ISusan Swanson
  { Senior Claims Specialist
    800-503-3724 ext.44549
Case 5:16-cv-00149-D Document 1-1 Filed 02/17/16 Page 62 of 115




                                            E HIBIT 13
    Case 5:16-cv-00149-D Document 1-1 Filed 02/17/16 Page 63 of 115



                CLAYTO                  B. BRUNER, P.L.L.C.
_ _=-_ _--::-::=-::=--=---: _ _-t-_Attorney at Law _ _ _ _ _ _ _ _ _-:---:--..,..-_...,.-_
CLAYTON B. BRUNER, Esquire                                                 Weatherford Law Center
                                                                               2811 East Main Street
                                                                      Weatherford, Oklahoma, 73096
                                                                          Telephone: (580) 774-5363
                                                                                 Fax: (580) 772-7440
                                                                    Email: claybrunerlaw@gmail.com


                                         October 27,2015


VIA ELECTRONIC MAIL
AMERICAN NATIONAL PROPERTY             CASUALTY
C/O Mr. James Sanders
Claims Department
1949 E. Sunshine
Springfield, MO 65899-0001

       Re:    Todd Wright and Sta ey Wright v. Zachary Allen Wilson, District Court of Caddo
              County, State of Okl

              Claim No.:              0996
              Insured:                 d Stacey Wright
              Tortfeasor:    Zach      Allen Wilson
              DOL:                    ber 25,2015

Dear Mr. Sanders:

       This letter will advise tha I have been retained by Todd and Stacey Wright (the
"Wrights") to represent them with r spect to any and all claims they may have as a result of an
automobile accident that occurre on September 25, 2015, in Hydro, Oklahoma (the
"Accident"). (See Accident Repo attached as EXHIBIT 1). Accordingly, please direct all
future cones ondence to matte

       As you can see from the att    ched Accident Report, this accident was caused by the sole
negligence of the tortfeasor, Zach       Allen Wilson ("Mr. Wilson"). The health of my client
(your insured), Stacey Wright ("       . Wright"), has steadily declined since the Accident. Mrs.
Wright has recently sought treatm     nt for back injuries due to the Accident. In short, Mrs.
Wright sustained damages, inc1udi     g personal injuries and medical expenses because of Mr.
Wilson's negligence. To date, we      ave not compiled all of the necessary information to put
American National Property and        Casualty ("ANPAC") on a specific monetary demand.
However, we will provide all of the   ecessary information to you in the near future.

       That said, the most pressin issue at this time is resolving the dispute regarding the
property damage to the Wrights' 2 15 Chevrolet Suburban LT ("Suburban"). I have reviewed
the "lowball" estimates provided by the tortfeasor's insurer, Mercury Insurance Group
      Case 5:16-cv-00149-D Document 1-1 Filed 02/17/16 Page 64 of 115


Mr. James Sand~'rs
Oclc)ber 27,2015



("Mercury"), with respect to the Su urban. Mercury's estimate and evaluation of the damage to
the Suburban are extremely low. he Suburban's rear axle was snapped in two, and its frame
was severely bent. The Suburban's back tire was essentially ripped off, its windows were blown
out, and its doors were damaged to e point they could not be opened. The Suburban had to be
dragged onto the wrecker because i wheels would not tum.

         Clearly, the Suburban susta' ed significantly more damage in the Accident than Mercury
accounted for in its "lowball" estim teo The Wrights' Suburban is totaled. There is no question
about that. I intend to send the Su ban to another body shop for an additional evaluation and
estimate. The fact is, no one in their 'ght mind would risk driving their children in this Suburban
after a repair. The repairs it needs e too great.

       Not only did the Accident compromise the integrity of 'the entire Suburban, it also
substantially diminished the mon tary value of the Suburban. The Suburban retailed for
approximately $68,000.00. How ver, my clients purchased upgraded rims and tires for
approximately $3,000.00 which wo ld place the total value of the Suburban at approximately
$71,000.00. The Suburban was es entially brand new. If th~ Suburban was repaired, it would
have an immediate trade-in value 0 only $47,500.00. If the Suburban had depreciated $4,000.00
(which is high) at the time of the ccident, and the vehicle was repaired, my clients would be
owed an additional $19,500.00 (at I t) for the diminished value of the Suburban.
                                                                     .
        I have been advised by Merc     that the tortfeasor's limits are insufficient to compensate
the Wrights for their damages as a result of the Accident. (See Correspondence from Susan
Swanson, EXHIBIT 2). Thus, the rights are making a demand on ANP AC for payment under
all relevant coverage agreements f their ANP AC policy for the property damage to their
Suburban and for the injuries sustai ed by Mrs. Wright. To that end, please provide me with a
certified copy of the Wrights' decl tions page(s) and insurance policy. Feel free to email those
documents to cla brunerlaw        ail                               .

       I look forward to hearing om you regarding this matter. My clients would like to
resolve this dispute as soon as possi Ie so they can move on with their lives. Mrs. Wright will be
available for a recorded statement once ANP AC's adjustor has inspected the Suburban and
provided an estimate.




CBB:ss
File No. 1.0084
Attachments
Case 5:16-cv-00149-D Document 1-1 Filed 02/17/16 Page 65 of 115




               E HIBIT 1
                                         Case 5:16-cv-00149-D Document 1-1 Filed 02/17/16 Page 66 of 115
                                                                                            D"=PAHTMENT OF PUBLIC SAFETY



                                                                    ~:~AHOMA Mf:~.:, ~::;:~"~:;~;~"LLISION :::~::"'"
                                                                                                                                                                                    Submit RQPort     if
                         Please Read
                                                                                                                                                                         Settlement Has         Not Been Made
       Instructions on Reverse Side                         eo _
                                                            OklaholT<J City OK 73136·0415                                              Oktahoma City, OK 731 11                                       1
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                                                                                                                                                                                  C67d!~/
     Collision Location

     (S/root Nama or Higlr...."y Number. Nearesl/nlersedian)                       ,


      VEHICLE NO.1
          (Your Vehicle)
                                          Driver Name


                                          Dale                      IDl No.
                                                                                             I            IDL Slale
                                                                                                                          Ovmer Name
                                                                                                                          C Same As Driver

                                                                                                                          Dale of                IDlNO-                                           DlSlale
                                          of Birth                                                                        Birth
                                          Sireet                                                                          Street
        Damage Estirnale
                                          Cfly                                              5110          !ZiP            City                                            State                   Zip

                                          Vehiclo
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       Totallniury Amount::               YOU WilL BE CONSIDERED UNINSURED AND S BJECT TO SUSPENSION OF YOUR ORNER LICENSE IF THE FOLLOWING SECTION IS INCOMPLETE:

                                          Insurance                                                                       Insurancn                                       Phone
                                          Company

                                          Policy
                                                                                                 I                        Agent Name

                                                                                                                          Address
                                          Numher:
                                          Pelicy Perioo             I
                                                                    From
                                                                                            Tc                            Cily                                            State                   Zip


                                                          IMPORTANT: ATTACH rrEMIZED DFCTOR'/HosprrAUPHARMACY BILLS (ATTACH ADDJnONAL FORMS IF NECESSARy)

                      Name                                                        Address
                                                                                                 I                                             Age        Sex       Driver    Passenger     Pedestrian Inj'Jred Killed




                      Injuries «millor Death

                                          Driver Nama                                                                     Owner Name
     VEHICLE NO.2                                                                                                          =Same As Driver

                                                                                                                 l~l                                      l~l                                              I~l
                                                                                                                          Date
        Otter Dn'.'er,O ... ner                                     IDl
                                                    h                Numu-ar                                      Stale   afSirth                          Numbor                                           Stille

                                          Street                                                                          Street
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                                                                                            51 to                         City                                                    State         Zip
              must be                     City                                                            IZiCooe
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                                                                                                                                                                                                Code
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                                          INSUR:..NCE IN;oORt.lATION OF OTHER DR !fER

                                          lnst::ar.ce                                                                     Insurance
                                                                                                                                     INSURANCE DENIAL ATTACHED?
                                                                                                                                                                                  D       YES
                                                                                                                                                                                                   D
                                                                                                                                                                                                   Phone
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                                          Ccmpar.t'                                                                       Agent Name
                                          PoliCY                                                                          Address
                                          Nurntler,
                                          Policy Period             IFrom                   T4
                                                                                                                          Cily                                                    Stale           Zip

                                                                                                                          Ov.nerName
     VEHICLE NO.3
                                          Driver Name

                                          Dale
                                                                                                 I                        ::; Same As Driver
                                                                                                                          Dale                                      DL                                        1
        Olher DriverJO'.omer
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                                                                                                                                     INSURANCE DENIAL ATTACHED?
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               ;:   :-..3~cia!
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                                          Policy Period             ,From                   To                            City                                                    Siale           Zip

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                         Case 5:16-cv-00149-D Document 1-1 Filed 02/17/16 Page 67 of 115

                                                                      DEPARTMENT OF PUBLIC SAFEiY

                                   OKLAHOMA MOTOR VEHICLE COLLISION REPORT
P.O. Box 11415                                   1lC. /1 .1/           Driver Compliance Division                                                                           3600 N. M L King Avo
Oklahoma City OK 73136-0415
                                              C l1 je rr          (fO I 54iJ3098j                                                                                        Oklahoma C!ly OK 73111




                                                   INSURANCEBNFORMATION EXCHANGE, ,                                                                  ...   ~   ,.'

 PoNce OlfJeer
                      11J10'N'\)')fJJ\    'SUM        DATE    q'-"J rj /',             Use this form to exchange your infonnatlonwiththe other party at
 Driver Nams      h\
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                                                                                                           the scene of the collision.


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 City Stall! Zip                                                                     Address


 Vehlcle Owner:                                                                      City Slall! Zip
o same as dJlvor

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 Adtlmss                                              Phone                          Po5cyNa.


 CltySlall!Zlp                                                                       Polley Effective Dell!                                 Policy Exp!ralion Dell!


 Driver Ucenso No.                                    Dnte of Blrth                  VehldoMake               I Model                       Year                     I
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 **The official Oklahoma Traffic Collision Report, the police investigative report, can be obtained by calling Records Management at 405.425.2262*"



                                                                      INSTRUCTIONS



 WHILE AT THE SCENE OF THE COLUSION

 1.      Print your name and insurance information legibly in the form above.
 2.      Give your information to the other driver and then you receive their information.
 3.      Contact their insurance agent and your Insurance agent to report the collision and to file the proper claim forms.

                   If the insurance Information provided above is denied or non-existent or you did not have the
                   opportunity to obtain the above information, you will need to complete the rev'erse side oUhis fom and
                   submit wi,thln one year from the date of the collision,


 4.      Using this form which contains the other party's information (if investigated by law enforcement personnel), complete all
         blanks; incomplete reports will be retumed. Date of birth must be included for adverse driver andlor owner; your
         insurance information must also be included.
 5.      Report must be dated and signed.

 6.      Attach the following appropriate documents as evidence of personal injury or property damage.

         (a) PERSONAL INJURY - Copies of itemized doctor, hospital, and/or pharmacy bills incurred as a result of the collision.
         (b) VEHICLE DAMAGE - An itemized estimate of repair or total loss statement for damages caused by the colliSion. dated and
                    signed by an authorized representative of a garage or body shop. Do not send any other supporting evidence such as
                    pictures, copies of checks, or other type of documents or diskettes.
         (c)        PROPERTY DAMAGE, OTHER THAN MOTOR VEHICLE - An itemized estimate or statement of repair due to the collision
                    separately listing the cost of materials and the cost of labor dated and signed by a qualified professional or your receipts.
         (d) Insurance denial from other party's company if a claim was filed.
 7.      Upon completion, mail the report to the Department of PubliC Safety at the above address.

                                                                                                                                                                             DPS FR307 024;:12OCS        ....
                        Case 5:16-cv-00149-D Document 1-1 Filed 02/17/16 Page 68 of 115
                                                                                                                                                  Pg_l_ of    ~
                                                                                                                                             YN
                                                                                                           1 Incident Report
                                                                                                               Investigation Completed
                OFFICIAL OKLAHOMA TRAFFIC ....Uli-LI.:III                                                      Investigation Made at Scene



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          Case 5:16-cv-00149-D Document 1-1 Filed 02/17/16 Page 69 of 115
2015035




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                                                   Veh.-2 Or                                                                      01. Bus 9-15 sems
                                               OZ. Passefl1l!lr   OS. Trud<lTrniler
                                                   Veh.-4 Dr
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                                                   Ven. Com.                           14. Bus 16+
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                           Case 5:16-cv-00149-D Document 1-1 Filed 02/17/16 Page 70 of 115

Ca:sa~          2015035                                               OFFICIAL OKlAHOMA TRAFFiC COLLISION REPORT Pg ~ of 4
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 6 MixedUse
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                                Drivel"         tlnft 1 Unit 2        Road     Unit 1   Un112


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                        Case 5:16-cv-00149-D Document 1-1 Filed 02/17/16 Page 71 of 115
C-~ 2015035'
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~NIT 1 WAS STOPPED BEHINO ANOTHER VB-IlCLE (Be fH FAONG SOUTH) AT Ii. STOP SIGN AT SH58 AND SH66 (INTERSECTION). UNIT 2
~A.S TRAVEUNG SOUTH ON SH58. THE DRIVER OF U~ IT 2 STATED HE DROPPED HIS PHONE INSIDE HIS VEHra.E. THE DRIVER OF UNIT 2
~1TEMPTEO TO GET HIS DROPPED PHONE. UNIT 2 SV reRVED INTO THE NORTHBOUND LANE. UNIT 2 THEN ~TO THE
~OUTHBOUND LANE. UNIT 2'5 FRONT SIDE AREA. MA ~E CONTACT WITH UNIT 1'5 REAR DRIVER'S SIDE. CAUSING ACOUJSION. THE AOI
~AS 91 FEET NORTH OF THE NORTH EDGE OF U.s. RC UTE 66.18 FEET EAST OF THE WEST EDGE OF H\NY 58.




.This n:porI: is based on the officers investigation of t lis collision. This report may contain the opinion of the officer.
1l1li11 8 lin mlfDi                                                                                                    'DPS: 0192-04 REV 0107
Case 5:16-cv-00149-D Document 1-1 Filed 02/17/16 Page 72 of 115




               E             IBIT 2
         Case 5:16-cv-00149-D Document
0ctJ2412015 3:26:35 AM                      1-1 an
                                  Mercury Insurance Filed    02/17/16 Page 73 of 115
                                                      -397-ooa2                                 213




                                                                                          P.O. Box 209040
                                                                                         Austin, TX 78720
                     MERCURY                                                                (800) 503-3724
  INSURANCE              GROUP




    October 23,2015


    Clayton B. Bruner, PLLC
    Weatherford Law Center
    2811 East Main Street
    Weatherford, OK 73096



    RE:        OUR INSURED:               Zachary Wilson Welding
               OUR FILE NUMBER:           OKBA-00000900
               DATE OF LOSS:              09/25/15
               YOUR CLIENTS:              Stacey and Todd Wright


    Dear Mr. Bruner:

    I am in receipt of your letter dated October 23,2015 regarding the above referenced claim. This
    file has been transferred to me for      er handling.

   My understanding of the property amage to your client's vehicle is that we did a preliminary
   estimate and then asked your cHen to move the vehicle to a body shop so it could be tom down
   and a more accurate estimate coul be written. However, based on the amounts you are quoting
   in your letter regarding the estima d value of your client's vehicle should it be determined a
   total loss or the amount of diminis ed value it would have should it be repaired, it has become
   clear that we will have a limits iss e.

   Our policy is a business policy wi a combined single limit and we have the property damage
   from your client's vehicle, her inj   claim and the property damage to a second vehicle and a
   bodily injury claim to the passeng r in that vehicle which all must be settled out of that single
   limit.

   I have asked our insured for permi sion to release his policy limits and he has declined to release
   his limit. However, the value ofy    client's vehicle alone is close to our limit.

   Therefore, I would recommend th your client use her own auto insurance carrier to take care of
   the damages to her vehicle as that s the fastest way to get her damages resolved and the only
   way she will get paid for 100% of er damages.

   If you have any questions or woul like to discuss this claim, please contact me at (800) 503
   3724 x44549
Octl2412015 3:26:36 AM
             Case 5:16-cv-00149-D Document        1-1877-397-0082
                                    Mercury Insurance     Filed 02/17/16 Page 74 of 115   313




                                          CEC01Y1PANY
      ;



      Susan Swanson
  (
      Senior Claims Specialist
      800-503-3724 ext.44549
Case 5:16-cv-00149-D Document 1-1 Filed 02/17/16 Page 75 of 115




                                            E HIBIT 14
               Case 5:16-cv-00149-D Document 1-1 Filed 02/17/16 Page 76 of 115
                                            ~ American®                          American National Property And Casualty Co.
                                               National Property                  American National General Insurance Co.
                                               And Casualty                        American National Lloyds Insurance Co.
                                               Companies                              Pacific Property And Casualty Co.
                                                                                       ANPAC Louisiana Insurance Co.
 American National Corporate Centre
                                                                                American National County Mutual Insurance Co.
 1949 East Sunshine
 Springfield, IVIO • 65899-0001
 417-887-0220. Fax 417-887-1801
 http://www.anpac.com



       October 28, 2015                                            CE '-TIFIED MAIL
                                                                   RElfURN RECEIPT REQUESTED
                                                                   A I ICLE #7008 0150 000 I 0047 8445

       Stacey Wright
       24352 Eastl 030 Road
       Weatherford, OK 73096-7504
       Re:     Policy #35-A-29200M
               Dat~ ofJ"9s~: ~~pter;Jber   25,2015
               ClaIm #.))-1-\-2 r 0990
       Dear Ms. Wright:
       As vou know. we have been called upon to handle a claim grow'ing out of an incident on or about
       Sep'tember 2$, 2015, involving your 2015 Chevy SUburb['~n. Pursuant to such request, we are
       investigating the incident. Ho\vever, our conduct in doing so is not intended to be, and shall not
       operate in aT1\' way as a waiver or invalidation of anv of tl1', conditions of the referenced policy or
       of any rights the insurance company has under tl1e pOliI' or to assert nonliability because of
                 of
       violatIon policy provisions.
       There appear to be reasons why the insurance company mipht not have an obligation to you with
       respect to such incident. The ll1tent of the insurance company is to provide, without prejudice to
       the rights ofthe insurance company, an investigation into th, facts ofllie incident.
       Our present inforrnation is that coverage might not exist for you "vith respect to this incident
       because of late reporting. The policy readS in part as follow:
               INSURED'S DUTIES IN CASE OF AN AUTO                    CCIDENT OR LOSS
               The f9110wing are duties you must perform. Faill re to perform these duties may
               result 111 no coverage.
               (1)      Notifv us promptlv. The notice must give th time, place, and circumstances
                        of the acclcient or'loss. including the names ~nd addresses of iniured oersons
                        and witnesses.          ,~                                       ..    .
       The insurance companv reserves the right at anv future tim' to assert any of the foregoing. as well
       as anv other reason that becomes apparent or fnto existenc', as a reason for declining provide    to'
       ll.lrther handling with respect to said incident.

       Si\Bei~tt~
          Y Cr
    ~1es W. Sanders
  /C;:laims Representative
    Auto Claims Division
    American National PropeI1), And Casual tv Company
    # 1-800-333-2861. Extension #2722       -
    james.sanders@ArnericunNational.colll
       mb/c3



UA·9                                                                 , Vlembers of the American National Family of Companies"
Case 5:16-cv-00149-D Document 1-1 Filed 02/17/16 Page 77 of 115




                                             E HIBIT 15
                                                   I
 11/17/2015            Case 5:16-cv-00149-D
                                         Gmail-Document         1-1 andFiled
                                                Your Insureds - Todd           02/17/16
                                                                        Stacey Wright, Claim No.Page   78 of 115
                                                                                                35A2Y0996
                                                               I
      disclosure of the information contained in this transmission, including any attachments, for any purpose other
      than that jnt.ended bY,its transmittal is. strict y pro~ibited. ~~~uthorize~ interception'o! this e.mail is a violation of
      federal criminal law. Ii you are not an Intended recIpient or thiS transmiSSIOn, please Immediately destroy all
      copies received and notify the sender.



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              624K

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   Clayton Bruner <c1aybrunerlaw@gmail.com>i                                                                          Fri, Nov 6, 2015 at 12:06 PM
   To: "Sanders, James" <James.Sanders@americannational.com>
 ~Ii~am;a'if'-'~·'" !i1".JI.h....·~
      Mr. Sanders,

      I am in receipt of your correspondence to m clients dated October 28,2015. Again, please send any and all
      future correspondence directly to me. Than you in advance.

      ANPAC cannot seriously be reserving its ri hts to deny coverage for my clients' claim based on the "Notice"
      requirement in the policy. That must be a jo e. My clients notified their insurance agent of the MVA immediately
      after the accident. Accordingly, ANPAC ha timely notice of the accident. My clients are not responsible for
      the dilatory acts of their. agent if th.e agent f<jliled to notify ~NPAC. My cI.ients' agent advised that their ANPAC
      policy should not come Into play since the tbrtfeasor was IIlsured. Once It was clear that the tortfeasor was
      underinsured, I immediately notified ANPA~(direCtly) of my clients' first party claim. My notice to you was
      approximately one month after the accident Despite the fact that my clients notified their agent of the MVA the
      day of or the day after the accident - and th s ANPAC had notice at that time - my notice to ANPAC was still
      timely.                   .                             I
     As you know, Oklahoma is not friendly to insurers in the first-party context. In other words, Oklahoma bad faith
     law is pro insured. My clients have made alfirst-party claim. ANPAC's nonsensical reservation of rights
     ("ROR letter directly to my clients (after I advised you to direct all further communication to me) is
               U
                   )


     unreasonable and amounts to a thinly veiled threat. That type of response by an insurer in the first-party context
     is unacceptable under Oklahoma law. ANPAtC has no business threatening my clients with a ROR letter based
     on a delay in notice. ANPAC's actions are nreasonable and potentially in bad faith.

     Accordingly, please retract ANPAC's baseless ROR letter regarding a delay in notice. I understand that ROR                                           ..
     letters are standard in the industry. Howev I,., ANPAC's present ROR letter is absurd.

     I look forward to hearing from you regarding this matter.

     Best regards,
     Clay

     Clayton B. Bruner, P.L.L.C.
     Attorney at Law
     The Weatherford Law Center
     2811 E. Main
     Weatherford, Ok 73096

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     774-5363 and permanently delete t1e original and any copy of any e-mail and any printout

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Case 5:16-cv-00149-D Document 1-1 Filed 02/17/16 Page 79 of 115
Case 5:16-cv-00149-D Document 1-1 Filed 02/17/16 Page 80 of 115




                                            E HIBIT 16
     Case 5:16-cv-00149-D Document 1-1 Filed 02/17/16 Page 81 of 115


                                                                        American Nalional Property And Casualty Co.
                                                                         American National General Insurance Co.
                                                                          American National Lloyds Insurance Co.
                                                                             Pacific Property And Casualty Co.
American National Corporate Centre                                            ANP AC Louisiana Insurance Co.
1949 East Sunshine                                                     American National County Mutual Insurance Co.
Springfield, MO • 65899-0001
417-887-0220 • Fax 417-887-1801
http://w...w/.anpac.com


November 9,20 I 5



CLAY BRUNER LA W
2811 E MAIN ST
WEATHERFORD, OK 73096-2607




RE: Claim # 35-A-2Y0996
    Insured: TODD WRIGHT
    Date of Loss: September 25, 2015



Dear Counsel:

We hereby retract our reservation 0 f rights for late reporting.

Sincerely,



p.-W~J.                                                            I
James Sanders                                                      I
Claims Representative· American National Property And Casualty
800-333-2861 x2722 (Direct) 417-877-5317 (Fax)
lrunes.Sanders@AmericanNational.coI11




                                                              "M'r"~ of"_ Ameri=o Natt,o.t F~lIy of Co_o"'""

                                                                   I
   Case 5:16-cv-00149-D Document 1-1 Filed 02/17/16 Page 82 of 115




CLAY BRUNER LAW
2811 E MAIN ST
WEATHERFORD, OK 73096·2607
Case 5:16-cv-00149-D Document 1-1 Filed 02/17/16 Page 83 of 115




                                             E HIBIT 17
                     Case 5:16-cv-00149-D Document 1-1 Filed 02/17/16 Page 84 of 115
 11/18/2015                                         Gmail - Your Insureds - Todd and Stacey Wri iht. Claim No. 35A2Y0996




                                                                                              Cayton Bruner <c!aybrunerlaw@gmail.com>

    . .. . . . . . . . . . . .. . . . . . . -..---.-. . .. ---.. ·_--···-1--·---.. --.. . -----..-.-.------
   Your Insureds                    Todd and Stacey Wright, Claim                                  ~o.   35A2Y0996
              .              . ..... . . . . -. .-. . . . .. . . . . . . -.....-.. .-. ···1----··-----·-··_-··-· . ---.------.
                                M




   Clayton Bruner <claybrunerlaw@gmail.com>                                                                                Fri, Nov 6, 2015 at 2:34 PM
   To: "Sanders, James" <james.sanders@americannational.com>
   ~.u
      Mr. Sanders,                                                                             J
      Attached please find the relevant documents you requested my clie t, Stacey Wright, to sign. Mrs. Wright is
      not making a claim for lost wages at this time so the employment aL!thorization and tax retums are irrelevant.
      There are also two bills attached. I will continue to send bills as they! are received. Please let me know if you
      have any questions.

      Best regards,
      Clay Bruner


      Clayton B. Bruner, P.L.L.C.

      Attorney at Law

      The Weatherford Law Center

      2811 E. Main

      Weatherford, Ok 73096



      Confidentiality

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     or effect, absent an express statement to the contrary herein, this em iI message, its contents, and any
     attachments hereto are not intended as a substitute for a writing.




     - - - - Forvvarded message - - -
     From: Clayton Bruner <claybruneriaw@gmail.com>
     Date: Fri, Nov 6, 2015 at 12:06 PM
     Subject: Re: Your Insureds - Todd and Stacey Wright, Claim No. 35 2Y0996
     To: "Sanders, James" <James.Sanders@americannational.com>


     Mr. Sanders,

     I am in receipt of your correspondence to my clients dated October                        f8, 2015.     Again, please send any and all
     future correspondence directly to me. Thank you in advance.                               I
     i\NP,.I\C cannot seriously be reserving its rights to deny coverage                    fOj my clients' claim based on the "Notice"
https:llmail.google.comfmaJlI?ul=2&ik= 1ed4ce26b4&vl ew= pt&search= sent&m sg= 150de81af9f0895rdSQt= 1&si m 1= 150de81 af9f08952                     1/4
                  Case 5:16-cv-00149-D Document 1-1 Filed 02/17/16 Page 85 of 115
11/1812015                                      Gmail - Your Insureds - Todd and Stacey Wri hI, Claim No. 35A2Y0996
     requirement in the policy. That must be a joke. My clients notified t                 eir insurance agent of the MVA immediately
     after the accident. Accordingly, ANPAC had timely notice of the ac                    ident. My clients are not responsible for
     the dilatory acts of their agent if the agent failed to notify ANPAC.                  y clients' agent advised that their ANPAC
     policy should not come into play since the tortfeasor was insured. 0                   ce it was clear that the tortfeasor was
     underinsured, I immediately notified ANPAC (directly) of my clients'                  Irst art claim. My notice to you was
     approximately one month after the accident. Despite the fact th~t m                    clients notified their agent of the MVA the
     day of or the day after the accident - and thus ANPAC had notice at                    hat time - my notice to ANPAC was still
     timely.

     As you know, Oklahoma is not friendly to insurers in the first-party c ntext. In other words, Oklahoma bad faith
     law is pro insured. My clients have made a first-party claim. ANPA 's nonsensical reservation of rights
     ("ROR") letter directly to my clients (after I advised ou to direct all rther communication to me) is
     unreasonable and amounts to a thinly veiled threat. That type of res onse by an insurer in the first-party context
     is unacceptable under Oklahoma law. ANPAC has no business thre tening my clients with a ROR letter based
     on a delay in notice. ANPAC's actions are unreasonable and potenti lIy in bad faith.

     Accordingly, please retract ANPAC's baseless ROR letter regarding                       delay in notice. I understand that ROR
     letters are standard in the industry. However, ANPAC's present RO                       letter is absurd.

     I look forward to hearing from you regarding this matter.

     Best regards,
     Clay

     Clayton B. Bruner, P.L.L.C.
     Attorney at Law
     The Weatherford Law Center
     2811 E. Main
     Weatherford, Ok 73096

     Confidentiality
     This e-mail,andanyattachmentsthereto, is intended 0 Iy for use by the addressee(s)
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     substitute for a writing.

     On Thu, Oct 29,2015 at 3:16 PM, Sanders, James <James.Sande @americannational.com> wrote:

        Mr. Bruner



      . Please see the attached Acknowledgment letter. I have ordered he certified policy and declarations. I will
      : forward those to you once available. I will contact you once I ha e the estimate on the Wright's vehicle.



      • Thank you.



https:/lmail.google.com/maill?ui=2&ik=1ed4ce26b4&view=pt&search=sen\&msg=15Ode81af9f089    c!sqt=1 &Siml= 150de81af9!D8952                214
 11/1812015
                    Case 5:16-cv-00149-D    Document 1-1 Filed 02/17/16 Page 86 of 115
                                      Gmail - Your Insureds - Todd and Stacey Wri hI, Claim No. 35A2Y0996

            James W. Sanders

            Claims Representative - Auto Claims Division

           • American National    I 1949 E. Sunshine I Springfield, Missouri 65               99   I 800-333-2861, ext. 2722
            Fax: 417-887-5005

            E-mail: james.sanders@americannational.com

       : SMART THINKING, REWARDED™




       : From: Clayton Bruner [mailto:claybrunerlaw@gmail.com]
       ; Sent: Tuesday, October 27,20154:30 PM
       : To: Sanders, James
       ;, Subject: Your Insureds - Todd and Stacey Wright, Claim No. 35A Y0996



       : Dear Mr. Sanders,



      : Attached please find a letter and exhibits. I look forward to hearin from you regarding this matter.


       ;


      i Best regards,
      ; Clay Bruner



      ! Clayton 8. Bruner, P.L.L.C.
      . Attomey at Law

      ; The Weatherford Law Center

      ; 2811 E. Main

      • Weatherford, Ok 73096



      , Confidentiality

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      : contain legally privileged and/or confidential information. If you ar not the intended recipient of this e-mail,
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https:llmai l.google.ccm/mail/?ui=2&ik=1ed4ce26b4&view= pt&search=sent&msg= 15Ode81af9f0895   dsqt= 1&siml=150de81 a1SfD8952   314
                  Case 5:16-cv-00149-D Document 1-1 Filed 02/17/16 Page 87 of 115
11118/2015                                     Gmail- Your Insureds - Todd and Stacey wriJht. Claim No. 35A2Y0996


        American National has changed its email addressestOFirstName.tastName@Ai-nericanN8tional.com. Please
        update my email address in your contact list, if applical)le, at your earliest convenience.

        Confidentiality: This transmission, including any attachments, is s !ely for the use of the intended recipient(s).
        This transmission may contain inrolmation that is confidential or otherwise protected from disclosure. The use
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        other than that intended by its transmittal is strictly prohibited. Unauthorized lnterception of this email is a
        violation of federal criminal law. If you are not an intended recipien of this transmission, please immediately
        destroy all copies received and notify the sender.




      -:J    Documents sent to ANPAC - Executed Med Auth, 2 bills, et .. pdf
             1411K




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             Case 5:16-cv-00149-D Document 1-1 Filed 02/17/16 Page 88 of 115

                                                                                                 Claim Number: 35-A-2Y0996

                                                Injured Party Information
                                    (To be completed by Injured Party or their I

 A Mandatory Insurer Reporting Law (Section 111 of Public Law 1J 0-1      requires certain insurers to verifY
 Medicare eligibility through the Center for Medicare Services (eMS)       considering claims that involve
 bodily injury. This law requires that we collect certain in/ormation to   possible Medicare Eligibility and
 assist CMS to properly coordinate payment ofbenefits among any nn'''t1Y'n e plans.

 The request for this information is not an admission of liability                 coverage by the company. However,
 this information may be required prior to any payment and/or                       ofyour claim. We are askingyoll to
 answer the questions below so {hat we may comply with this law.

 Please return the completedform to:            American National Property
                                                1949 E Sunshine St
                                                Springfield, Missouri 65899-

    I Name: (please print the name exactly as it appears on your Social


 rue you presently, or have you ever been, enrolled in ""'U',""Cl'



 rue your Medicare benefits administered through a Medicare Advantage Plan?                 NO

 If Yes, please state the Medicare Advantage Plan's name::...,.- - - - - - - - l i - - - - - - - - - - - -

 Plan ID Number: _ _ _ _ _ _ _ _ _ _ _ __                        Phone Number:   _+-___________

 Social Security         • (lfMedicare Claim Number is Unavailable)                                 er:


       4L\t-\ -
                                                          Certification


 By sig-rzing below, 1 certify that the information provided above                   aft ached is true and correct. 1
 understand the information provided is to assist in the                              coordination of benefits with
 lvfedicare and to meet reporting obligations under Medicare law.

    W ARl'lING: Any person who knowingly, and with intent injure, defraud or deceive any
    insurer, makes any claim for the proceeds of an insurance ,oBey containing any false,
    incomplete or misleading information is guilty of a felony.




Printed Name


signaturlgg~JaW~
 Authorized Representative
                                                                                     to Injured Party
          Case 5:16-cv-00149-D Document 1-1 Filed 02/17/16 Page 89 of 115
                                                                                      Claim #
                                                                                      Name:

                                             List of Treatin


Provider:         _~1)=-y-:....:....~....w..~5...!.._~--_ _ _ _ _-i!_ _ _ _ _ _ _ _ __

Address:          _~~~__~~~____________~--___-                                                                   __-------_

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Provider: ----:...;:..==.:..!':>O:':".:!...:..l.-=--+-J~~e::I..I...-!..,l...U....&..l.II_¥_l_i_~------------
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PatientAccount#______________________~-------------

Phone: __~~~~~~~~______________~----------------


Provider: ___-r....:...:.::~;.=~:....loQ___u..:::::::.:....l~~_ _ _ _ _ _ _ __H_----------


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Phone: _ _ _~~~~~~~~__________~----__---------



Provider: -----------------------It--------------
Address: _____________________-*_ _ _ _ _ _ _ _ _ __

City: ________________ State:                                                         ----it-            Zip Code: ______
Patient Account #_ _ _ _ _ _ _ _ _ _ _ _ _ _ _-11-_ _ _ _ _ _ _ _ _ __

Phone: _________________________~-------------------


WARNING: Any person who knowingly, and with intent t injure, defraud or deceive any
insurer, makes any claim for the proceeds of an insurance olley containing any faIse,
incomplete or misleading information is guilty of a felony_
        Case 5:16-cv-00149-D Document 1-1 Filed 02/17/16 Page 90 of 115



                                                                                   Claim # 35-A-2Y0996

                               AUTHORIZATION FOR .l'-CJ.l.J~Il""'IJ.t.:.I
                                   MEDICAL INFORMA
                      American National Property And Casualty

From _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

This authorization or photocopy or electronic copy hereof, will         the above-named provider to
furnish the entire record they may have regarding my                  under observation or treatment
to a representative of American National Property And '-'U'~II"".H also referred to as American
National, including pertinent information on file, emergency     notes, consultation notes, operative
and/or procedure reports, lab reports, imaging/radiology rep    nursing notes, MD or chiropractic
progress notes, MD or chiropractic notes, or medical history, s American National may investigate
my claim for medical benefits. I understand that some of the .       tion requested is to assist in the
accurate coordination of benefits with Medicare and to meet      orting obligations under Medicare
law. You are authorized to provide this information. I                      that I may revoke this
authorization at any time by written request to my American ational Claims Representative. This
authorization will expire 24 months from the date of my .         I understand I may receive a copy
of this authorization on request.

I understand that as part of the claim handling process,          National may disclose medical or
other information obtained by this authorization to physicians dentists, other medical or healthcare
providers or other professionals for their review and profes .    opinion. I understand that I may
refuse to authorize disclosure of all or some of the reques      information, but that refusal may
potentially cause a delay in processing, or result in the denial insurance benefits for any pending
injury or medical claim(s).

Date:   \~'.29tJ IS




                                       Relationship to patient [if     than patient signs]

WARNING: Any person who knowingly, and with intent injure, defraud or deceive any
insurer, makes any claim for the proceeds of an insurance olicy containing any false,
incomplete or misleading information is guilty of a felony.




1200206 (04/15)
   Case 5:16-cv-00149-D Document 1-1 Filed 02/17/16 Page 91 of 115




Stacey Wright

Medical

9/29/15         $70   Tara Harris

10/21/15        $70   Tara Harris

10/23/15        $35   Dr. J Huser III    (copay)

10/26/15              Physical Therapy

10/28/15              Physical Therapy

10/30/15              Physical Therapy

11/2/15               Physical Therapy

11/4/15               Physical Therapy

11/6/15               Physical Therapy   (schedule • I don't know after dates)
                                         Case 5:16-cv-00149-D Document 1-1 Filed 02/17/16 Page 92 of 115



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           Case 5:16-cv-00149-D Document 1-1 Filed 02/17/16 Page 93 of 115


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                      Case 5:16-cv-00149-D Document 1-1 Filed 02/17/16 Page 94 of 115
     Clinical Summary                                                                                               Page 1 of4



    rClinical summa~y
    I
    I Table of Contents
    i Patient Demographics
    I Emergency Contacts
    :!    Care Providers
          Visit Information
          Chief Complaint and Reason for Visit
          Social Hlstorv
          Problem List·:          '.'    "  :':.,
          Medication List
          Current Allergies and Adverse Reactions
          Procedures/Laboratory 'Tests ~-L
          Immunization              ' •. ... .:
          Vital Signs
          Instructions             _':::
          Medications Administered
          Diagnostic Test Results
          Reason for Referral
          Plan Of Care




         Name: Stacey Wright ::.';"!'::'.                                  r    Contact Information:
                                                                                Tel (Primary Home): (580)302-1849
         Birthdate:April 30, 1982
                                                                                Primary   orne:
         Gender: F                                                              24352 E. 1030 Rd
                                                                                Weatherford, OK 73096
         Race: 2106-3 (White) .
                                                                                Default !=Provider Organization:
         Ettmicity: 2186-5 (Not Hispanic or Latino)                             J.M. Hus r, III, M.D.
                                                          ;: ~'.     . . :.::
         Language:                                                              Tel (Wor place): (580)772-3331
         code: eng (preferred)                       .    ;;.v ....•. '         Fax (Wo kplace): (580)774-1451
                                                                                Tel (Worl'place): (580)772-3331
                                                     :;.        ~.              Fax (WOI kplace): (580)774-1451

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I                                                                               3725 Le~ aey Street
                                                                                Weather ord, OK 73096-9746
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I Emergency Contact: """
I Todd B Wright                                                                                                                  I
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                                     -
         Tel (Primary Home): (580)302-1849                                                                                       I
i        Primary Home:                                                                                                           !
!
I
         24352 E 1030 Rd
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Case 5:16-cv-00149-D Document 1-1 Filed 02/17/16 Page 95 of 115




                                            E HIBIT 18
                    Case 5:16-cv-00149-D Document 1-1 Filed 02/17/16 Page 96 of 115

                                    AMERICAN NAT! NAl PROPERTY &. CASUALTY .
                                                          PAC FIC PLAINS DIVISION
                                                   FOR SUPPLE ENTS[ CONTACT APPRAISER
                                                              T CELL # BELOW
                                                                        els@americannational.com
                                                                        949 E. SUNSHINE
                                                                SP      NGFIELD[ MO 65899
                                                                 Ph ne: (405) 306-4976                             Oaim #:                       35-A-2Y0996-Vl
                                                                  F x: (417) 877-5230                            Workfile ID:                          a21c9b07

                                                                        stimate of Record

                                                   Written By: JE RY SAMUELS, 11/03/2015 9:33:07 AM
                                                                  djuster: Sanders, James

Insured:             TODD WRIGHT                   Owner Policy #          35A29200M                     Oaim #:             35-A-2Y0996-V1
Type of Loss:        Collision                     Date of Loss:           09/25/201506:22 PM            Days to Repair:     0
Point of Impact:     07 Left Rear                  Deductible:             1000.00


Owner (Insured):                    Inspection Location:                    Appraiser Information:                         Repair Facility:
TODD WRIGHT                         CUMMINS AUTO GROUP                      jerry.samuels@americannational.com             UNKNOWN AT lNSPErnON
24352 E 1030 RD                     1300 N. AIRPORT RD.                     (405) 306-4976
WEATHERFORD, OK                     WEATHERFORD, OK 73096
73096-0000                          Other
(580) 774-2636 Evening              (580) 772-5521 Business
(580) 774-9011 Cellular



                                                                           VEHICLE
Year:       2015                 Color:                     RED lnt: RAY         Ucense:     280LSJ                        Production Date:      OS/2015
Make:       OiEV                 Body Style:                4DUTV                State:      OK                         Odometer:                4667
Model:      K1S00 4X4            Engine:                    8-S.3l-FI            YIN:        1GN5KJKC6FR704991         Condition:
            SUBURBAN LT



TRANSMISSION                              Intermittent Wipers                    CD Player                                 Bucket Seats
Automatic Transmission                    Tilt Wheel                             Auxiliary Audio Connection             Reclining/Lounge Seats
Overdrive                                 Cruise Control                         Premium Radio                          Leather Seats
4 Wheel Drive                             Rear Defogger                          Satellite Radio                        Heated Seats
POWER                                     Keyless Entry                          SAFETY                                Rear Heated Seats
Power Steering                            Alarm                                  Drivers Side Air Bag                  3rd Row Seat
Power Brakes                              Message Center                         Passenger Air Bag                     WHEELS
Power Windows                             Steering Wheel Touch C ntrols          Anti-Lock Brakes (4)                  Aluminum/Alloy Wheels
Power Locks                               Rear Window Wiper                      4 Wheel Disc Brakes                   PAINT
Power Mirrors                         Telescopic Wheel                           Traction Control                      Clear Coat Paint
Heated Mirrors                            Climate Control                        Stability Control                     Metallic Paint
Power Driver Seat                         Dual Air Condition                     Front Side Impact Air Bags            OTHER
Power Passenger Seat                      Backup Camera w/Parki 9 Sensors        Head/Curtain Air Bags                 Fog Lamps
Memory Package                            Entertainment Center                   Communications System                 Rear Spoiler
Power Adjustable Pedals               Remote Starter                             Hands Free Device                     Signal Integrated Mirrors
DeCOR                                     Home Unk                               Positraction                          TRUCK




11/03/20159:33:07 AM                                                             104S34                                                              Page 1
                   Case 5:16-cv-00149-D Document 1-1 Filed 02/17/16 Page 97 of 115

                                                                                            Claim#:                  35-A-2Y0996-Vl
                                                                                         Workfi!e ID:                       a21c9b07
                                                  stimate of Record

                                  2015 CHEV K1500 X4 SUBURBAN LT 40 lJTV 8-5.3L-FI RED

Dual Mirrors                 RADIO                           Lane Departure Warning             Rear Step Bumper
Privacy Glass                AM Radio                        ROOF                               Trailer Hitch
Console/Storage              FM Radio                        Luggage/Roof Rack                  Trailering Package
CONVENIENCE                  Stereo                          Electric Glass Sunroof             Running Boards/Side Steps
Air CondItioning             Search/Seek                     SEATS                              Power Trunk/Gate Release




11/03/20159:33:07 AM                                         104534                                                         Page 2
                Case 5:16-cv-00149-D Document 1-1 Filed 02/17/16 Page 98 of 115

                                                                                                    OaillJ #:                 35-A-2Y0996-Vl
                                                                                                 Workfile ID:                                a21c9b07
                                                              stimate of Record

                                           2015 CHEV K1500 X4 SUBURBAN LT 4D UTV 8-5.3L-FI RED



 line                  Oper                Description               Part Number      Qty        Extended        labor                       Paint
                                                                                                   Price $
   1    ELECTRICAL
  2     *              Repl    Compressor                                  22797525         1       296.61          l:QM
  3                    Repl    LT Rear sensor                              23152100         1        82.18 m        0.4 M
  4     WHEELS
  5                    Repl    LT/Rear Wheel 22" code: SG                  22905550         1       895.00 m        0.3
  6     SEATS &. TRACKS
  7                     R&I    R&I second row seat bench      at                                                  Ind.
  8                     R&I    LT R&I third row seat                                                              Ind.
  9     PILLARS, ROCKER &. FLOOR
  10                 Sect LT Uniside assy lock pillar                      23431112         1       569.17   s      5.0                           1.0
  11                   Repl    LT Running board                            22813700         1       268.28          1.0
  12                   Repl    LT Unlside assy extension                   22786531         1        12.52
  13    FRONT DOOR
                        Rpr    IT Outer panel Suburban                                                             1.5.                           2.1
  14    *
  15                           Overlap Major Adj. Panel                                                                                         -0.4
  16                    R&I    LT Belt molding                                                                      0.3
  17                    R&I    LT Upper molding                                                                     0.2
  18                   Repl    LT Nameplate "SUBURBAN"                     15825694         1        49.00          0.2
  19                    R&I    LT Mirror assy w/power fold                                                          0.4
                               blind spt
  20                    R&I    LT Handle, outside paint to                                                          0.4
  21                    R&I    LT R&I trim panel                                                                    0.4
  22    REAR DOOR
  23                    Repl   IT Door shell Suburban                      22957424         1       881.51         4.6                            3.1
  24                           Overlap Major Adj. Panel                                                                                         -0.4
  25                   Repl    LT Lower seal                               20963593         1        29.17
  26                   Repl    LTRearseal                                  23455371         1        73.08
  27                   Repl    LT Surround w'strip                         23277121         1        89.45        Ind.
  28                    R&I    IT W'strip on body                                                                 Ind.
  29                   Repl    LT Applique rear                            22837467         1        66.08        Ind.
  30                   Repl    LT Applique front                           20963322         1        55.16        Ind.
  31                    R&I    LT Belt w'strill                                                                   Ind.
  32                    R&I    LT Door glass GM w/dark tin                                                        Ind.
  33                    R&I    LT Fixed glass GM w/dark tin                                                       Ind.
  34                    R&I    LT Handle, outside w/o extd                                                        Ind.
                               range remote paint to mate
  35                    R&I    LT R&I trim panel                                                                  Ind... .. -,.   ..~~.,   ._.- .._._. ,-,
  36    QUARTER PANEL
  37                   Repl    IT Quarter panel                            22979707         1       861.88        18.5                            3.4
  38                           Overlap Major Adj. Panel                                                                                         -0.4
  39                           Deduct for Rear Bumper R&I                                                         -1.0
  40                           Deduct for Overlap                                                                 -1.0




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                                                                                                                     dairT!#:             35-A-2Y0996-V1
                                                                                                                  Worktile ID:                 a21c9b07
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                                           2015 CHEV KI500 X4 SUBURBAN LT 4D LJTV 8-5.3L-FI RED

  41                    Repl   Fuel door                                                          22796503            22.07       0.3             0.3
  42                    Repl   LT Fuel pocket                                                     22819288            39.25
  43                    Repl   LT Wheelhouse liner Suburba                                        23264145            52.63      Ind.
  44                    Repl   LT Wheelhouse liner retainer                                        1605396   1         3.47
  45                    Repl   LT Wheelhouse liner nut ITon                                       11610510   1         1.05
  46                    Repl   LT Wheelhouse liner nut inne                                       11518531   1         4.40
  47                    Repl   LT Wheelhouse liner nut upp                                        11513599   1         5.20
  48                    Repl   LT Wheelhouse liner nut rear                                       11515638   1         1.05
  49                    Repl   LT Front molding                                                   23227752   1        79.18      Ind.
  50                    Repl   LT Rear molding                                                    23167643   1        38.85      Ind.             0.7
  51                    Repl   LT Water drain pnl                                                 23200189   1        20.57
  52                    Repl   LT Rear molding retainer                                           22884292   3        10.35
  53                    Repl   LT Nameplate nLT"                                                  22980986   1         6.04       0.2
  54                    Repl   LT Qtr glass ITom 01/23/201                                        23482876   1      310.89       Ind.
                               w/privaO/ tint w/o theft sen
  5S                    Repl   LT Inner panel                                                     22958202   1      218.98        3.0             0.8
  56                    Repl   LT Inner panel reinforcement                                       22971720   1       101.12
  57                    Repl   LT Inner panel ITont e.xtn                                         22786531   1        12.52
  58                    Repl   LT Inner panel baffle ITont                                        23470083   1        11.18
  59                    Repl   LT Rear e.xtn                                                      22818038   1        44.03
  60                    Repl   LT Rear extn baffle                                                23477220   1         8.27
  61                    Repl   LT Extension panel                                                 22789622   1        28.08
  62                    Repl   LT Inner wheelhouse front                                          22789624   1        59.77       1.5             0.3
  63                    Repl   LT Inner wheelhouse rear                                           22789626   1        56.25       1.5             0.3
  64                    R&l    Upper qtr trim w/speaker, 10                                                                      Ind.
                               16 speakers shale
  65                    R&l    Lower qtr trim w/power confi                                                                      Ind.
                               dune                            ...   ,,~   _...   ~.   "-'"   .
  66    REAR SUSPENSION
  67                    Repl   LT Lower cntrl anm                                                 22868629   1        67.07 m     0.7 M
  68                    Repl   LT Shock CODE: ABBL                                                23290661   1      611.28 m      0.5 M
  69                    Repl   Axle housing w/limited slip                                        23199119   1    1,821.98 m      5.9 M
  70                           Deduct for Overlap                                                                                -0.3 M
  71                           Deduct for Overlap                                                                                -0.3 M
  72    #               Repl   DIFFERENTIAL l-UBRICANT                                                       2        45.00
  73                    Repl   LT Axle shaft                                                      23199121   1,     247.11 m     Ind. M
  74                    Repl   LT Axle bearing                                                    12479031   Ii       67.00 m    Ind. M
  75                    Repl   RT Axle seal                                                       12471686   1        14.16      Ind. M
  76                    Repl   LTWheel stud                                                       11588811   6       33.06       Ind. M
  77                    Repl   LT Axle seal                                                       12471686   1        14.16      Ind. M
  78                    Repl   Cover~ask.et                                                       22943110   1       31.99       Ind. M
  79    REAR BODY
  80                    Repl   LT Side rrame                                                      23159074   1        53.18       4.0             1.5
  81                    Repl   LT Flller panel                                                    22979701   1       77.39        1.0             0.3
  82                    Repl   LT Side panel                                                      22786698   1       47.87        3.0             0.5




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                                                                                                    Oalrn #:           35-A-2Y0996-Vl
                                                                                                 Workfile ID:               a21c9b07
                                                            stimate of Record

                                           2015 CHEV K1500 X4 SUBURBAN LT 40 UTV 8-5.3L-FI RED

  83                   Repl   LT Lower panel                               22786707       1          25.45       1.0           0.3
                       Rpr    Rear floor pan                                                                     6.0           1.5
  84    *
  85                   Repl   Sill                                         23147341       1         442.89      Ind.           1.5
  86                   Repl   Lower reinf                                  22786710       1          38.22       2.0
  87                   Repl   LT Comer panel                               23195041       1          25.22
  88                   Repl   LT Inner wheelhouse                          22876575       1         127.65
  89                   Rep!   Sill panel                                   22973168       1         329.35
  90                   Repl   LT Rear rail                                 22n0302        1          62.08       2.0
                       R&I    Carpet Suburban & Yukon XL                                                         1.0
  91    *
                              w/fr bucket dune
                              NOTE: SETBACK CARPET IN T. REAR AREA.
  92    LIfT GATE
  93                   Rep!   Uft gate Suburban                            22756787       1         995.00       4.6           3.7
  94                          Overlap Major Adj. Panel                                                                        -0.4
  9S                   Repl   LT Uft gate bumper lower                     22826589       1           3.45
  96                   Repl   LT Uft gate pad                              13233501       1           7.90
  97                   Repl   Nameplate "SUBURBAN"                         15860871                  80.52       0.2
  98                   R&I    Handle                                                                            Ind.
  99                   Bind   Handle                                                                                           0.4
 100                   Repl   Emblem                                       22814069       1          41.32       0.2
 101                   R&I    Spoiler Suburban                                                                   0.5
 102                   R&I    Upper trim shale                                                                  Ind.
 103                   R&I    Lower trim panel w/power Ii                                                       Ind.
                              gate shale
 104    REAR LAMPS
 105                   Repl   LT Combo lamp assy                           23476137       1        495.00       Ind.
 105                   Repl   LT Combo lamp assy retainer                  22884291       1           3.45
 107                   R&I    RT Combo lamp      assy                                                            0.3
 108   REAR BUMPER
 109                          O/H rear bumper                                                                    2.4
 110                   Repl   Bumper cover                                 23142959       1        795.00       Ind.           3.2
 111                          Add for Clear Coat                                                                               1.3
 112                   Repl   LT Side bracket                              22806431       1          12.18       0.1
 113                   Repl   LT Side bracket bolt                         11609489       1           1.05
 114                   Repl   Bumper cover retainer                        11609952       1           3.58
 11S                   R&I    Tow eye cap                                                                       Ind.
 116                   Refn Tow eye cap                                                                                       0.2
 117   *                      Clear Coat                                                                                      3.&
 118                   Rep!   Step pad wlo chrome mold in                  22936468       1         138.29      Ind.
 119                   Repl   Access cover                                 23142973       1          95.00      Ind.           0.4
 120                   Repl   Impact bar w/o power park b ake              22805381       1        547.03        0.3
 121                   Rep!   Park sensor                                  23428268                149.50       Ind.
 122   #
 123   **              Repl   AIM COVER VEHICLE I BAG                                     1           5.00       0.2
 124   **              Rep!   AIM CLEAN I RETAPE EMBLE S                                  1           4.50       0.2




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                                                                                                  Claim#:              3S-A-2Y0995-Vl
                                                                                               Workfile ID:                 a21c9b07
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                                        2015 CHEV KlS00 X4 SUBURBAN LT 4D UTV 8-5.3L-FI RED

                              OR MOLDINGS
   125   #             Subl   MOUNT / BALANCE - EACH                                   1           12.50 X
   126   **            Rep/                                                            1           16.00 T     0.3
  127    #             Subl   4 WHEEL AUGNMENT COMP         E                          1           89.95 X
  128    #             Rpr    SETUP & MEASURE ON BENC                                                          2.0
  129    #             Rpr    PULL & SQUARE UNIBODY                                                            3.0 F
  130    #             Refn TINT COLOR FOR MATCH                                                                               0.5
  131    #             Rpr    GLASS CLEAN UP                                                                   1.0
  132    **            Repl   AIM WELD THROUGH PRIME                                                8.00 T     0.3
  133    **            Repl   AIM GLASS SEALANT KIT                                    1          20.00 T
  134    **            Repl   AIM CORROSION PROTECT! N                                 1            8.00 T     0.3
  135    #             Sub!   HAZARDOUS WASTE DISPOS L                                 1            5.00 X
  136    TIRES
  137    *             Rep!   BDGST P28S/45R22 Dueler H L                  BR01232     1         253.99        0.3
                              Alenza BW 110H
  138    OTHER CHARGES
  139    #                    Towing                                                   1         210.90
  140    #                    Storage                                                 12         396.00
                                                                     SUBTOTALS                13,944.51       83.4           28.7

                                                                NOTES

Estimate Notes:
*** VEHICLE APPEARS TO BE A BORDERUNE TOTAL LOSS - C 1M UNDER REVIEW       ***
Prior Damage Notes:
NONE.




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                                                                                                    Oaim#:                  35-A-2Y0996-V1
                                                                                               Workfile ID:                       a21c9b07
                                                     '1 stimate of Record

                                       2015 CHEY K1S00j4X4 SUBURBAN LT 40 lJTV 8-5.3L-FI RED

                            ESTIMATE TOTALS
                            category                                                       Basis                    Rate        Cost $
                            Parts                                                                                            13,178.16
                            Body Labor                                                   72.5 hrs    @        $ 48.00 /hr     3,480.00
                           Paint Labor                                                   28.7 hrs    @        $ 48.00 /hr     l,3n.60
                            Mechanical Labor                                              7.9 hrs    @        $ 90.00 /hr       711.00
                           Frame Labor                                                    3.0 hrs    @        $ 60.00 /hr       180.00
                           Paint Supplies                                                                                       550.00
                           Miscellaneous                                                                                        159.45
                           Other Charges                                                                                        606.90
                           Subtotal                                                                                          20,243.11
                           SaJesTax                                                  $ 13,780.16     @         8.3750 %       1,154.09
                           Total Cost of Repairs                                                                            21,397.20
                           Deductible                                                                                         1,000.00
                           Total Adjustments                                                                                 1,000.00
                           Net Cost of Repairs                                                                              20,397.20




**IMPORTANT DISCLOSURE - PLEASE READ BEFC RE REPAIRING VEHICLE**
This Is a damage appraisal only, not an authorizati pn to repair. THE VEHICLE OWNER MUST AUTHORIZE ALL
REPAIRS.
Failure to obtain prior approval for payment of supplemental repairs may result In out of pocket expense to the
vehicle owner or alternatively, the repair facility nc receiving full payment for repairs.
All appraisals are subject to review by the Companil to assure consistency with estimate guIdelines.
This appraisal is based on an inspection of visible ( amage and may not address additional parts or labor that may be
required if the vehicle Is torn down for repairs or h dden damage is found. Those are commonly referred to as
supplemental repairs.
Supplemental repairs should be reviewed with the t:::ompany's authorized representative for approval as part of the
agreed upon estimate amount to verify relativity 0 the repairs and conSistency with estimate guidelines. Any
supplemental charges must be supported by docu hents such as photos, receipts, old parts, parts invoices and or any
other document as required by ANPAC®.
The Company reserves the right to inspect any      re~ ~irs   or supplemental repairs.
This is not an authorization of payment or guarantf:e of coverage by the company or its insured[s]. Contact your
Claims Representative to discuss details regarding wour claim and potential coverage which may apply.

WARNING: ANY PERSON WHO KNOWINGLY, ANC WITH INTENT TO INJURE, DEFRAUD OR DECEIVE ANY INSURER,
MAKES ANY CLAIM FOR THE PROCEEDS OF AN INpURANCE POLICY CONTAINING ANY FALSE, INCOMPLm OR
MISLEADING INFORMATION IS GUILTY OF A FEU NY.

Estimate calculated using a preset user threshold cmount for the paint and material cost.




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                                                                                             Claim#:            35-A-2Y0996-V1
                                                                                          Worktile ID:                  a21c9b07
                                                    stimate of Record

                                                    X4 SUBURBAN LT 4D UTV 8-S.3L-FI RED

THIS ESTIMATE HAS BEEN PREPARED BASED ON HE USE OF CRASH PARTS SUPPLIED BY A SOURCE OTHER THAN
THE MANUFAcruRER OF YOUR MOTOR VEHICLE. WARRANTIES APPLICABLE TO THESE REPLACEMENT PARTS ARE
PROVIDED BY THE MANUFACTURER OR DISTRIB OR OF THESE PARTS RATHER THAN THE MANUFACTURER OF
YOUR VEHICLE.

 Estimate based on MOTOR CRASH ESTIMATING G IDE and potentially other third party sources of data. Unless
otherwise noted, (a) all items are derived from the Guide DR1GA15, CCC Data Date 10/16/2015, and potentially other
third party sources of data; and (b) the parts pres nted are OEM-parts manufactured by the vehicles Original
 Equipment Manufacturer. OEM parts are available at OE/Vehicle dealerships. OPT OEM (Optional OEM) or ALT OEM
(Alternative OEM) parts are OEM parts that may b provided by or through alternate sources other than the OEM
vehicle dealerships. OPT OEM or ALT OEM parts ay reflect some specific, special! or unique pricing or discount.
OPT OEM or ALT OEM parts may include "Blemish d" parts provided by OEM's through OEM vehicle dealerships.
Asterisk (*) or Double Asterisk (**) indicates that e parts and/or labor data provided by third party sources of data
may have been modified or may have come from n alternate data source. TIlde sign (N) items indicate MOTOR
Not-Included Labor operations. The symbol    «»     ndicates the refinish operation WILL NOT be performed as a
separate procedure from the other panels in the e timate. Non-Original Equipment Manufacturer aftermarket parts
are described as Non OEM! AIM or NAGS. Used p rts are described as LKClt RCY, or USED. Reconditioned parts are
described as Recond. Recored parts are described as Recore. NAGS Part Numbers and Benchmark Prices are
provided by National Auto Glass Specifications. La or operation times listed on the line with the NAGS Information
are MOTOR suggested labor operation times. NA labor operation times are not InclUded. Pound sign (#) items
Indicate manual entries.
Some 2016 vehicles contain minor changes from e previous year. For those vehicles, prior to receiving updated
data from the vehicle manufacturer! labor and pa data from the previous year may be used. The CCC ONE
estimator has a list of applicable vehicles. Parts n mbers and prices should be confirmed with the local dealership.
The following is a list of additional abbreviations 0 symbols that may be used to describe work to be done or parts to
be repaired or replaced:
SYMBOLS FOLLOWING PART PRICE:
m=MOTOR Mechanical component. s=MOTOR St ctural component. T=Misceflaneous Taxed charge category.
X=Mlscelianeous Non-Taxed charge category.
SYMBOLS FOLLOWING LABOR:
D=Diagnostic labor category. E=Electricallabor tegory. F=Frame labor category. G=Glass labor category.
M=Mechanlcallabor category. S=Structural'abor tegory. (numbers) 1 through 4=User Defined Labor Categories.
OTHER SYMBOLS AND ABBREVIATIONS:
Adj.=Adjacent. Algn.=Align. ALU=Aluminum. A/        =Aftermarket part. Blnd=Blend. BOR=Boron steel.
CAPA=Certlfied Automotive Parts Association. D      =Dlsconnect and Reconnect. HSS=High Strength Steel.
HYD=Hydroformed Steel. Incl.=Inciuded. LKQ=L        e Kind and Quality. LT=Left. MAG;;:Magnesium. Non-Adj.=Non
Adjacent. NSF=NSF International Certified Part.    /H=Overhaul. Qty=Quantity. Refn=Refinish. Repl=Replace.
R&I=Remove and Install. R&R=Remove and Repl        ceo Rpr=Repair. RT=Right. SAS=Sandwiched Steel.
Sect=Section. Subl=Sublet. UHS=Ultra High Stre     gth Steel. N=Note(s) associated with the estimate line.




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                                                                                            Claim #:         35-A-2Y0995-Vl
                                                                                         Workfile ID:             a21c9b07
                                                   stimate of Record

                                   2015 CHEV KI500 X4 SUBURBAN LT 4D UTV 8-5.3L-FI RED

CCC ONE Estimating - A product of CCC Informati     Services Inc.
The following is a list of abbreviations that may be used In CCC ONE Estimating that are not part of the MOTOR
CRASH ESTIMATING GUIDE:
BAR=Bureau of Automotive Repair. EPA=Environ ental Protection Agency. NHTSA= National Highway
Transportation and Safety Administration. PDR=P intless Dent Repair. VIN=Vehide Identification Number.




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                                                                                           Oairn   #~   35-A-2Y0996-V1
                                                                                        Workfile ID:         a21c9b07
                                               stimate of Record

                              2015 CHEV K1500 X4 SUBURBAN LT 4D UTV 8-5.3L-FI RED



                                                 PARTS SUPPUERS

  tine    Supplier                       o     ription                                                        Price

  137     1m3                            BDG     P285/45R22 Dueler H/L Alenza BW l1GH                      $ 253.99
          3038 N EASTMAN RD
          LONGVIEW TX 75605
          (903) 663-2570




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                                                                                                            Oaim#;                   35-A-2Y0995-VI
                                                                                                        Workfile ID:                        a21c9b 07
                                                             I stlmate of Record

                                              2015 CHEV KI500 4X4 SUBURBAN LT 40 VTV 8-5.3L-FI RED

                                                        AlTI RNATE PARTS USAGE

Year:    2015                   Color:               RED rnt: ~RAY           License:   280LSJ                 Production Date:      OS/2015
Make:    CHEV                   Body Style:          4DUTV                   State:     OK                     Odometer:             4667
Model:   KI5004X4               Engine:              8-5.3L-F                YIN:       IGNSKJKC6FR70499I      Condition:
         SUBURBAN LT



           Alternate Part Type                                  # Of Available Parts                           # Of Parts Selected
                 Aftermarket                                             0                                              6
                Optional OEM                                             0                                                  0
                Reconditioned                                            0                                                  0
                  Recyded                                                0                                                  0




                                                                                                                                      ~




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                                             E HIBIT 19
 11/1712015
                                                             i
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                                                                       Gmail- Wright Suburban

         Sent: Tuesday, November 10, 201510:10 AM
         To: Susan Swanson
         Subject: Fwd: Wright Suburban



         CLAIM NO. OKBA-900 - Todd and Stacey Wright

         MERCURY'S INSURED - ZachalY Wilson Welding, LLC



         Ms. SVvanson,



        Attached please find the estimate from my clients' insurer, AmeriJan t\lational Property and Casualty
        insurance, with respect to the Suburban. As you can see, the est mated damage is $21,397.20. Further, the
        adjuster has requested a tear down to supplement his estimate fo I additional damage that is currently hidden
        from view. My clients are unwilling to allow a tear dm,vn at this time and want to move on this. To that end,
        my clients are willing to settle this claim against your insured-tortfeasor, Zachary Wilson Welding, LLC, for the
        foilowing amounts: (1) 522,000.00 to repair the property damage; (~) $18,000.00 for diminished value (please
        refer to my initial letter re: my clients' diminished value claim - trade
                                                                                I
                                                                                  in after repairs will be approximately
        $47k-S47.5k - the vehicle was $71 k); and (3) $15,000.00 for persofpal injuries related to Stacey Wright.
        Obviously, Mercury is still obligated to pay any outstanding towin fees, storage fees at Cummins, and rental
        fees at Cummins for the comparable rental my clients have been riving. As previously stated, all of those
        fees are recoverable in a lawsuit.



        Mrs. Wright continues to treat vvith a physical therapist and her prirrary care physician. The physical therapist
        advised yesterday that Mrs. Wright will need PT for the considera~le future due to back injuries related to the
        accident. That said, my clients want to move on and put this matter behind them. Accordingly, they are
        willing to seWe this matter for $55,000,00 at this time, This sewetent demand wilt remain valid until Friday,
        November 13, 2015, at 5 p, m, CST, Please take this offer to your ins ured, Mr Wilson,


                                                                                           l
        We look for'vvard to hearing from you re: this matter. If you have an' questions or concerns, please do not
        hesitate to contact me.



        Best regards,

        Clay Bruner



        Clayton B. Bruner, P.L.L.C.

        Attorney at Law

        The Weatherford Law Center

        2811 E. Main

        Weatherford, Ok 73096



        Confidentiality

https:llmail.google.comlmaill?ui=2&ik= 1ed4ce26b4&vi ew=pt&cal=T odd%20and%20Stacey%20W rig t&search=cat&lh=150eed4a537985b8&dsqt= 1&siml= 1...   28/34
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                                            E HIBIT 20
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 11/1712015                                                               Gmail - Wright Subur       n



      Best regards,
      Clay Bruner

      Clayton B. Bruner, P.L.L.C.
      Attorney at Law
      The Weatherford Law Center
      2811 E. Main
      Weatherford, Ok 73096

      Confidentiality
      This e-mail.andanyattachmentsthereto.isintended only for use by the addressee(s)
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      not the intended recipient of this e-mail, you are hereby hotified that any dissemination,
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      774-5363 and permanently delete the original and any cPpy of any e-mail and any printout
      thereof. Notwithstanding the Uniform Electronic Transa9tions Act or the applicability of any
      other law of similar substance or effect, absent an expre,ss statement to the contrary herein,
      this email message, its contents, and any attachments lereto are not intended as a
      substitute for a writing.


      On \Ned, Nov 11, 2015 at 8:08 AM, Susan Swanson <SSwanson@mercuryinsurance.com> wrote:

         [Vir. Brune"                                                                            I
                                                                                                 I
         V'/'2 have reviel,ved the estimate you submitted for your client's \(ehicle damages 2nd I have discussed it
         with the adjuster at ""hJPC 35 V-Ie!1. The estimate from ANPC notef that your client's vehicle is a borderline
         total loss which was the conclusion of our appraiser as well. We fre unable to settle your client's property
         damage without an accurate estimate for the damages to their IJFhide as we cannot calculate any
         diminished value without the total amount of repairs. In additiol' it is likely that their vehicle is a total loss,
         in which case diminished value would not be owed.


                                                                                                 I
         in regard to your client's bodily injury claim, if you have any medical records and bills you can submit I
         would be happy to review it. But without any documentation to ubstantiate your client's injuries, we are
         unable to settle your client's injury claim at this time.



        Sincerely,




        Susan S",vanson

        Mercury Insurance



        From: Clayton Bruner [mailto:claybrunerlavv@gmail.com]
https:/fmail.gcx.."'9le.com/mail/?ui=2&ik= 1eG4ce26b4&view=pt&cat=T odd%2Qand%20Stacey%20W right&search=cat&th= 15Geed4a5379SSb8&dsqt= 1 &simi = 1. . .   27/34

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Case 5:16-cv-00149-D Document 1-1 Filed 02/17/16 Page 111 of 115




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                 Case 5:16-cv-00149-D Document 1-1 Filed 02/17/16 Page 112 of 115
 11/17/2015                                                        Gmail - Wright Subul'

         Senior Staff Appraiser. Field Operations - Auto

         American National 11949 E. Sunshine I Springfield, Missouri 65899                           I
         CeIl·405·3064976

         SMART TH!I\jKING, REWARDED ™




               ... --.-.. --. .-.---..------.-------...--.. . . -----------.-.--.--.-1-----------------..---------

        American National has changed its email addresses to FirstName LastName@AmericanNationaLcom.
        Please update my email address in your contact list, if applicable, at your earliest convenience.

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   Clayton Bruner <claybrunerlaw@gmail.com>                                                                 Wed, Nov 11, 2015 at 12:03 PM
   To: "Samuels, Jerry" <Jerry.Samuels@americannational.com>
   Cc: "Sanders, James" <james.sanders@americannational.com>

     Mr. Samuels,

     Do not discuss my clients' claim with Mercury Insurance any longer. Thank you.

     Best regards,
     Clay Bruner

     Clayton B. Bruner, P.L.L.C.
     Attorney at Law
     The Weatherford Law Center
     2811 E. Main
     Weatherford, Ok 73096

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Case 5:16-cv-00149-D Document 1-1 Filed 02/17/16 Page 113 of 115




                                             E HIBIT 22
                  Case 5:16-cv-00149-D Document 1-1 Filed 02/17/16 Page 114 of 115
  11/1712015                                                             Gmail- Wright sUburJan

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      On Mon, Nov 9, 20'15 at 6:38 PM, Samuels, Jerry <Jerry.SamuelsmamericannationaLcom> wrote:

         Here is it copy (~ftlze preliminaF)' estimate Oil the Suburban. [lI'illlll!e:t/ it to I'll down at a repairfaci!ity to complete
         a supplement PJI' additional (II' hidden damage. Thank you,




         Senior Staff Appraiser - Field Operations - Auto

         American National 11949 E. Sunshine 1 Springfield, Missouri 65899 1

         Cell - 405-306-4976

         SMART THINKING, REVIJAROEDTM




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   Sanders, James <James.Sanders@americannational.com>                                                          Wed, Nov ii, 2015 at 12:07 PM
   To: Clayton Bruner <claybrunerlaw@gmail.com>
   Cc: "Samuels, Jerry" <Jerry.Samuels@americannational.com>


     1\111'. Bruner,




     00 not communicate \tvith           mv staff appraiser any longer. Thank yoU!.


     Best Regards,

https:flmail.google.com/mailf?ui=2&ik= 1ed4ce26b4&view=pt&cat= T odd%20and%20Stacey%20W rigllt&search=cat&lh= 15Oeed4a537985b8&dsqt= 1&sim 1= 1. . .   19/34

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      .J:J !l1c', 'S. S:llHh:rs

      Claims n.eprcs,enrariH - Auto Claims Di\'isioil

      .Li.,merican ['-lation;:;!   I 1949 E. Sunshine I Springfield, Missouri 6589 I 800-333-2861,                         8X1,   2722

      Fax: 417-887-5005
      E-mail: james.sanders@amel·icannational.com

      SMART THINKING, REWA.RDED"·'




      From: Clayton Bruner [mailto:claybrunerlaw@gmaiLcom]
      Sent: Wednesday, November 11, 2015 12:03 PM
      To: Samuels, Jerry
      Cc: Sanders, James
      Subject: Re: Wright Suburban



      Mr. Samuels,



      Do not discuss my clients' claim with Mercury Insurance any longer. Thank you.



      Best regards,

      Clay Bruner



     Clayton B. Bruner, P.lLC.

     Attorney at law

     The Weatherford law Center

     2811 E. Main

     Weatherford, Ok         73096


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